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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
CHEMFREE CORPORATION,               )
                                    )
           Plaintiff,               ) Civil Action No.
                                    )
v.                                  ) 1:04-CV-3711(CRW)
                                    )
J. WALTER, INC., and                )
J. WALTER COMPANY, LTD.             )
                                    )
           Defendants.              )




=================================================================

                PLAINTIFF’S POST-HEARING BRIEF

                      IN SUPPORT OF ITS
          POST-TRIAL MOTIONS TO ALTER OR AMEND
         FINDINGS OF FACT AND CONCLUSIONS OF LAW

=================================================================

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     Plaintiff ChemFree Corporation herein submits its post-

hearing brief in accordance with the Court’s oral directive at

the conclusion of the hearing on February 11, 2011.

           I. DISCUSSION OF OPEN PROCEDURAL QUESTIONS.

     A.    STATEMENT ON RECORD OF REASON FOR SUBSTITUTION OF
           JUDGE.

     Federal Rule of Civil Procedure 63 applies after a trial or

hearing begins and the original trial judge becomes unable to

proceed.   Canseco v. United States, 97 F.3d 1224, 1226 (9th Cir. 1996).

Rule 63, as amended in 1991, is not limited to cases in which a

judge's inability to proceed manifests itself during a trial or

hearing.   Id.   All that is required is that the trial or hearing

shall have commenced and thereafter at any stage of the

proceedings the judge is unable to proceed.        Id.   This includes

motion proceedings initiated after entry of judgment.         Id.

     The 1991 Advisory Committee notes to Fed.R.Civ.P. 63 state

that the reasons for a substitution of judge – “should be stated

on the record.”    Rule 63, 1991 ADVISORY COMMITTEE NOTES; See also

MOORE’S FEDERAL PRACTICE § 63.03[5] (“the reason for a sitting

judge’s inability to proceed should be stated on the record”).

At the hearing on February 11, 2011, the Court invited the

parties to suggest language to be included in an order stating

the reasons for substitution of the judge in this case.          Pursuant

to the Court’s direction, Plaintiff offers the following
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suggested language to explain why there has been a substitution

of judge in this case.

     The liability phase of this case came before the District
     Court for the Northern District of Georgia, Judge Jack T.
     Camp, presiding, during the week of July 13, 2009. On June
     18, 2010, approximately eleven months later, Judge Camp
     entered findings of fact and conclusions of law. [Docket
     619]. Before entry of judgment, Plaintiff filed three
     successive motions to alter or amend findings and
     conclusions under Fed.R.Civ.P. 52(b), which motions are
     addressed in this order. The motions were briefed during
     the period between July 6, and November 16, 2010. Judge
     Camp resigned from the bench on November 19, 2010, before
     disposing of the post-trial motions. The undersigned judge
     was assigned to this case by intercircuit assignment dated
     December 27, 2010. The events and circumstances surrounding
     the reassignment of Judge Camp’s docketed case load are
     related to the criminal case of United States v. Jack T. Camp, Jr.,
     1:10-MJ-1415 (N.D.Ga). In the criminal case, Judge Camp was
     accused of engaging in multiple felonies, including the use
     of illegal controlled substances such as marijuana and
     cocaine and possession of a firearm in connection with the
     purchase of illegal controlled substances. The accompanying
     probable cause affidavit further alleged that Judge Camp
     solicited and engaged in acts of prostitution with an exotic
     dancer who also shared in the possession and use of illegal
     drugs with Judge Camp. The conduct alleged in the criminal
     complaint and accompanying affidavit encompassed a period
     from May until October of 2010, a period of time that
     included the time that Judge Camp issued the Docket 619
     Order that Plaintiff has requested the Court to reconsider
     in its post-trial motions.1

     Plaintiff submits that the foregoing statement is

appropriate under Gaddy v. Abex Corp., 884 F.2d 312 (7th Cir. 1989),

where the presiding judge resigned after entering findings of

     1
       A true and correct copy of an announcement published on
the Northern District of Georgia’s web-site stating that re-
assignment of Judge Camp’s criminal and civil dockets was
connected to the criminal case against Judge Camp is attached
hereto as Exhibit “A.”


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fact and conclusions of law and, in addition, disclosed that he

had a conflict of interest.

      B.    AUTHORITY OF SUCCESSOR JUDGE TO REVERSE FINDINGS AND
            CONCLUSIONS OF A PREDECESSOR JUDGE.

            1.    Sitting Judge Can Reverse His Own Rulings on
                  Motion or On His Own Initiative.

      Rule 52(b) provides that - "[o]n a party's motion filed no

later than 28 days after entry of judgment, the court may amend

its findings -- or make additional findings -- and may amend the

judgment accordingly."      Fed.R.Civ.P. 52(b).       “A party may move to

amend the findings of fact even if the modified or additional

findings in effect reverse the judgment.”          Golden Blount, Inc. v. Robert H.

Peterson Co., 438 F.3d 1354, 1358 (Fed.Cir. 2006).          “Essentially,

if the Court ‘has entered an erroneous judgment, it should

correct it.’” Estate of Pidcock v. Sunnyland America, Inc., 726 F.Supp. 1322,

1333 (S.D.Ga. 1989)(quoting 5A MOORE'S FEDERAL PRACTICE ¶ 52.11[2]

(2d ed. 1985).     The district court may reverse any or all of its

findings in acting on a Rule 52(b) motion.           Fontenot v. Mesa Petroleum

Co., 791 F.2d 1207, 1219 (5th Cir. 1986).          Moreover, a district

court is not limited by the scope of relief requested in a

party’s Rule 52(b) motion as it is settled law that a district

court has discretion to amend any of its own findings, whether or

not requested by a party. Golden Blount, supra, at 1358 (Fed.Cir.

2006).



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            2.    Successor Judge’s Authority to Alter or Amend
                  Findings and Conclusions is Co-Extensive With The
                  Authority of the Original Judge.

      At the hearing on February 11, 2011, the Court asked

Plaintiff to provide it with legal authority regarding whether a

Rule 63 successor judge has power to reverse a decision of his

predecessor.     The law is clear that a successor has such power

and authority to reverse a decision of his predecessor.

      “Rule 63 always permitted a successor judge to decide post-

trial motions in a case in which findings of fact and conclusions

of law had been filed.”        Canseco v. United States, 97 F.3d 1224, 1226

(9th Cir. 1996).

      We conclude that where a successor judge is asked by timely
      and proper motion to reconsider the legal conclusions of an
      unavailable predecessor, he or she is empowered to
      reconsider those issues to the same extent that his or her
      predecessor could have.

United States Gypsum Co., v. Schiavo Brothers, Inc., 668 F.2d 172, 176 (3d. Cir.

1981).   “If the judge who made the decision dies or resigns from

the court, he obviously is no longer available to consider it and

such consideration must perforce be by another judge if it is to

be had at all.” TCF Film Corp. v. Gourley, 240 F.2d 711, 713-714 (3d.

Cir. 1957) (affirming successor judge's reversal of a decision by

predecessor judge).       “A litigant's right to try to persuade a

court that it has erred should not be denied simply because of




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the unavoidable unavailability of the judge who rendered the

original decision.” United States Gypsum, 668 F.2d supra at 177.

      ... our duty is to determine whether the judgment of [a
      successor judge] is correct. In fact we should sustain any
      judgment from which an appeal has been taken if it is
      supported by the record and the law ... Obviously we cannot
      be expected to reverse a correct decision by one district
      judge simply because we find that it is contrary to a prior
      ruling by another district judge in the same case ...

Parmelee Transportation Co. v. Keeshin, 292 F.2d 794, 797 (7th Cir. 1961).

      It has been held to be reversible error for a substitute

judge to not at least consider reaching a different conclusion

than the predecessor judge. Mergentime Corp. v. Washington Metro. Area Transit

Auth., 166 F.3d 1257 (D.C.Cir. 1999).         In Mergentime, the successor

judge stated that he would not accept the parties’ invitations to

second-guess the conclusions that the original judge had reached

and that he would thus deny all motions that sought to revisit

issues decided by the original judge. Id. at 1263.             The

successor judge further cautioned the parties that any arguments

that attempted to second-guess the original judge’s opinion –

“will not be considered” and urged the parties “to pursue any

claim of error” with respect to the original judge’s ruling on

appeal.   Id. at 1263.     To this, the Seventh Circuit assigned

error, reversed and remanded.

      By refusing to consider the post-trial motions, the
      successor judge failed to comply with Rule 63. After all,
      the original judge could not have refused to consider them.
      Although district courts enjoy wide discretion to grant or


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      deny post-trial motions [cit. omitted], they cannot refuse
      to exercise that discretion. See 11 CHARLES A. WRIGHT,
      ARTHUR R. MILLER & MARY KAY KANE, FEDERAL PRACTICE AND PROCEDURE
      § 2818, at 194 (2d ed. 1995)(“If the trial judge has failed
      to exercise discretion at all, as when he is under the
      mistaken apprehension that he has no power to grant the
      relief sought, the appellate court can review that decision
      and can order the judge to exercise his discretion.”); 12
      MOORE'S FEDERAL PRACTICE § 59.54[3] (Matthew Bender 3d ed. 1998)
      ... Since Rule 63 requires a successor judge to stand in the
      shoes of the original judge, the successor judge in this
      case assumed the original judge's obligation to exercise his
      discretion with respect to the contractors' post-trial
      motions. It would be unfair to “deny a litigant's right to
      try to persuade the court that it has erred simply because
      the judge who rendered the original decision is unavailable
      and cannot be called on to reconsider the matter.” 12 MOORE'S
      FEDERAL PRACTICE § 63.05[1].

Mergentime, at 1263-64.

      Accordingly, it should be beyond dispute that this Court,

sitting as a successor judge, has plenary authority to alter,

amend, and reverse Judge Camp’s decision to the same extent that

Judge Camp could have reconsidered his own decision.          It is

reversible error for a successor judge to fail to at least

consider reversing the decision of the predecessor judge.

      C.    ADMISSIBILITY OF MR. McNALLY’S TESTIMONY.

            1.   Admissibility on Rule 63 Recall.

      Rule 63, among other things, requires the successor judge to

certify familiarity with the record.        Fed.R.Civ.P. 63.     The Rule

also requires the successor judge to make a determination whether

the – “case may be completed without prejudice to the parties.”

Id.



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      ... the new rule thus allows successor judges to avoid
      retrial, but only to the extent they ensure that they can
      stand in the shoes of the predecessor by determining that
      “the case may be completed without prejudice to the
      parties.”

Mergentime Corp. v. Washington Metro. Area Transit Auth., 166 F.3d 1257, 1263

(D.C. Cir. 1999).      In connection with performing those duties,

the successor judge is required to recall any witness whose

testimony is material and disputed and who is available to

testify again without undue burden.           Id. (“... shall at the

request of a party ...”).        Moreover, separate and apart from the

mandatory recall requirement, the rule also authorizes the

successor judge to - “recall any other witness.”

      During the hearing on February 11, the Court heard testimony

from one of Plaintiff’s inventors, Tom McNally.              Defendants’

counsel objected to almost every question posed to Mr. McNally on

the grounds that the identical question was not asked during

trial.   After carefully searching the extant case law on Rule 63,

Plaintiff has been unable to find a single incident where a court

sustained an objection to a question posed to a witness on recall

under Rule 63 because the same question had not been asked when

the witness first testified during trial.            Certainly, Defendants

have cited no such authority to the Court to date.              Plaintiff

submits that the Court should overrule those objections and admit

and consider Mr. McNally’s testimony.




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     This case has been pending since 2004.       During the six plus

year pendency of this case, Judge Camp had the benefit of

becoming familiar with the case through, among other things: (i)

a Markman claim construction hearing; (ii) motions to compel

discovery; (iii) motions in limine; (iv) motions to strike expert

reports and otherwise challenging the qualifications of experts;

(v) summary judgment proceedings on inequitable conduct,

inventorship, and enablement; and (vi) a pre-trial hearing.

Thus, when the bench trial commenced in July of 2009, Judge Camp

already had an accumulated familiarity with the case that is

difficult to duplicate from a sterile review of the paper record.

     Moreover, this action is not a simple slip-and-fall tort

case or a simple suit on a promissory note.       Rather, it is a

patent infringement case involving technology that includes a

reasonably complex interaction between chemistry and biology.

Moreover, it is an obviousness case that requires consideration

of whether a person of ordinary skill in the relevant art would

be motivated to modify the prior art to achieve the patented

invention with a reasonable expectation of success.        This is also

a complex question.   In cases involving complex issues, Rule 63

allows, but does not necessarily obligate, a successor judge to

enter judgment based on an existing record.

     If the trial judge in a non-jury trial becomes disabled
     before filing findings of fact and conclusions of law, a new
     trial is probably obligatory, absent consent of the parties


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        to a decision without retrial. GPO contends that Judge
        Waddy's findings of fact and conclusions of law issued from
        the bench sufficed to permit Judge Richey to enter judgment.
        We need not reach this issue, however, because Rule 63 at
        most gives a successor judge the power to enter judgment; it
        does not obligate him to do so. The premise underlying Rule
        63 - that the successor judge may be unable to assess with
        security the significance or credibility of what his
        predecessor heard - is amply justified in complex litigation
        such as this.

Thompson v. Sawyer, 678 F.2d 257, 269, 270 (D.C.Cir. 1982).

Similarly, in the case of Golf City, Inc. v. Wilson Sporting Goods Co., Inc., 555

F.2d 426 (5th Cir. 1977), the original trial judge’s decision, on

appeal, was reversed and remanded for additional findings of

fact.    During the appeal process, the original trial judge

resigned from the bench, leaving a Rule 63 successor judge to

preside over the proceedings on remand.            Under the circumstances,

the Fifth Circuit noted that the Rule 63 successor judge had

discretion to make new findings of fact and conclusions of law on

the existing record or, in the successor judge’s discretion, the

record could be supplemented or the court could grant a new

trial.

        The district judge who tried the case has resigned from the
        bench. The judge to whom the case is assigned on remand may
        be able to make new findings of fact and conclusions of law
        on the existing record. The record may be supplemented at
        his discretion. [cit. omitted]. Moreover, if he is
        satisfied that he cannot perform the duties we have given
        him because he did not preside at the trial or for any other
        reason, the judge may in his discretion grant a new trial.
        Fed.R.Civ.P. 63.

Golf City, 555 F.2d supra at 438 (emphasis added).


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     Read together, the Court’s admonition in Golf City and the

plain language of 63 indicate that a successor judge has broad

discretion to recall any witness, supplement the record, or even

grant a new trial in keeping with the successor judge’s duty to

determine that the proceedings can be – “completed without

prejudice to the parties.”2

     In the case of Gaddy v. Abex Corp. 884 F.2d 312 (7th Cir. 1989),

the original trial judge directed a verdict in favor of the

defendants at the close of plaintiff’s case.        Thereafter, the

original trial judge retired while, as in the instant case, a

motion to amend findings of fact or for new trial was pending.

A successor judge was assigned under Rule 63 who granted the

motion for new trial.     After re-trying the case in a bench

setting, the Rule 63 successor judge ruled in favor of the

plaintiff, thus reaching the opposite conclusion of the original

trial judge who had entered a directed verdict.         In granting the

motion for a new trial, the successor judge stated that he felt

it inappropriate to decide plaintiff’s motion to amend findings

of fact when he did not preside at the trial.        Id. at 315.


     2
          Prior to the 1991 amendments to Rule 63, a successor judge
was required to retry a case absent stipulation of the parties if
findings of fact and conclusions of law had not been entered
before the predecessor judge became disabled. Home Placement Serv., Inc.
v. Providence Journal Co., 819 F.2d 1199, 1202 (1st Cir. 1987); Emerson
Elec. Co. v. General Elec. Co., 846 F.2d 1324, 1326 (11th Cir. 1988).


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Moreover, the successor judge noted that the original judge’s

fact findings were contradictory on their face and that the

successor judge had not had the opportunity to observe the

parties or their counsel during trial.      On appeal, the Seventh

Circuit found that the grant of a new trial was within the

discretion of the successor judge.

     Apart from the foregoing, the prevailing case authorities

provide little guidance as to the scope of oral examination that

may be pursued when a witness is recalled under either the

mandatory or discretionary recall provisions of Rule 63.

Defendants’ position appears to be that the oral examination must

be strictly limited to counsel asking the exact same questions

and the witness giving the exact same answers as occurred at the

original trial.   Moreover, Defendants contend that a recalled

witness should not be given an opportunity to orally testify

regarding subjects that the witness gave declaration testimony on

during summary judgment proceedings before trial, even though the

witness was cross-examined on such declaration testimony at trial

and even though the original trial judge relied on the summary

judgment record in deciding the outcome of the bench trial.

Defendants cite no authority to support this draconian, and

incorrect, view of the recall provisions of Rule 63.

     Plaintiff submits that Defendants’ extremely narrow

interpretation of Rule 63 should be rejected for several reasons.


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First, Rule 63 is not limited to a party recalling its own

witnesses.      There is nothing to prevent a party from recalling a

hostile witness providing that he or she is available within the

meaning of Rule 63.       In recalling a hostile witness, even if the

hostile witness is interrogated with the exact same questions,

there is no guaranty that the witness will give the exact same

answer.     Moreover, if the hostile witness answers differently on

recall than at trial and is impeached with his or prior answer,

there is nothing that would prevent the witness from explaining

or expounding on his previous answer, neither would there be any

impediment to opposing counsel giving the witness an opportunity

to explain a previous answer on re-direct.          Of course, all of

these consideration gives the successor judge an opportunity to

evaluate the credibility of the witness, which is a primary

reason for the recall provision in the rule.

        Furthermore (and this goes to “prejudice to the parties”), Judge

Camp’s obviousness ruling is grounded on numerous instances where

he ignored his own evidence exclusion orders.           For example, Judge

Camp granted Plaintiff’s motion in limine no. 2, which precluded

Defendants from introducing extrinsic evidence that missing

features were “inherently” present in Hakansson-2. [Dkt 552, pp.

1-2].     Nevertheless, Judge Camp’s obviousness ruling hinged on

finding that the cleaning fluid was “inherently” present in




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Hakansson-2 based on inadmissible testimony that Defendants

elicited from their expert on the last day of trial.        Similarly,

Judge Camp’s Orders at Dkt 274, 414, 464, 552, 574 precluded

Defendants from relying on prior art that they failed to timely

disclose in discovery, yet Judge Camp went beyond Defendants’

disclosed prior art references to find that claim elements

missing from Defendants’ (authorized) prior art references could

be found in the “general knowledge of a person of ordinary skill

in the art.”   [June 18 Order, Dkt 619, p. 51].      Such “general

knowledge” was necessarily derived from prior art that Defendants

failed to timely disclose during discovery.       In addition, Judge

Camp found that knowledge of an unspecified, but purportedly

“existing” fluid could be imputed to the person of ordinary skill

in the art.    [Dkt 619 Order, p. 46-47].    Such “existing fluid”

should have been timely disclosed in Defendants’ local rule

invalidity contentions during discovery, but was not.

     Moreover, Judge Camp’s finding regarding “for help in

determining” an “existing fluid” is ambiguous.       The language -

“for help in determining” – could be interpreted to mean that:

(i) a specific, known fluid could be supplied, or (ii) mere

starting materials to begin a testing program could be suggested.

Judge Camp is no longer available to interpret his own order.

Supplementing the record with Mr. McNally’s testimony about how

the inventors found and used “existing fluids” to test in their


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prototype invention should be an invaluable aid to the Court in

determining whether and to what extent a practitioner in the art

of environmental sciences could, on request, supply “help in

determining an existing fluid” to a parts washing practitioner

based solely on the teachings of the prior art and without the

help of Plaintiff’s patent specification.       Furthermore, it should

be clear from Mr. McNally’s testimony on recall that Judge Camp

misapprehended the meaning of “environmentally benign” as used in

Plaintiff’s Exhibit 527, which was authored by Mr. McNally.

[Compare Dkt 619, p. 53 to 2/11/11 Transcript, pp. 75:23-79:23].

     Finally, at pages 165 to 167 of the 2/11 transcript,

Defendants argued that the Court could find that the “non-

caustic” limitation in Plaintiff’s claims could be established

through Mr. McNally’s original trial testimony.        No it can’t.

The parties’ dispute over Mr. McNally’s original trial testimony

was clarified during the hearing on February 11, where the Court

was available to view and weigh Mr. McNally’s credibility.

     In summary, Plaintiff submits that McNally’s testimony was

proper in scope for a witness subject to mandatory recall under

Rule 63 and is, therefore, admissible.      As such, Plaintiff

submits that the Court lacks discretion to disregard it.

Alternatively, to the extent that the Court believes that

McNally’s testimony exceeded the permissible scope of a witness

subject to mandatory recall, Plaintiff submits that the Court has


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discretion to supplement the record and to consider it in keeping

with the broad discretion given a successor judge under Rule 63.

            2.    McNally’s Testimony Is Admissible Under
                  Plaintiff’s Alternative Request for Partial New
                  Trial on the Disputed Markman Construction of
                  “Non-Caustic.”

      In addition to moving to alter or amend findings and

conclusions under Rule 52(b), Plaintiff has also moved for a

partial new trial on the issue of construction of “non-caustic.”

Claim construction is considered to be an iterative process such

that the Court can update, amend, or modify its interlocutory

Markman claim construction ruling at any time until entry of

final judgment. Jack Guttman, Inc. v. Kopykake Enters., 302 F.3d 1352, 1361

(Fed.Cir. 2002); Utah Med. Prods., Inc. v. Graphic Controls Corp., 350 F.3d

1376, 1382 (Fed.Cir. 2003).

      Plaintiff never agreed to a construction of “non-caustic”

that contemplated that microbes could possibly be considered as

“organic tissue.”      In a biological setting, “tissue” is defined

as:

      An aggregation of morphologically similar cells and
      associated intercellular matter acting together to perform
      one or more specific functions in the body. There are four
      basic types of tissue: muscle, nerve, epidermal, and
      connective.

THE AMERICAN HERITAGE DICTIONARY, 4th ed.           Microbes may be

“organisms,” but they are not “organic tissue.”




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      In biology, an organism is any contiguous living system
      (such as animal, plant, fungus, or micro-organism). In at
      least some form, all organisms are capable of response to
      stimuli, reproduction, growth and development, and
      maintenance of homoeostasis as a stable whole. An organism
      may either be unicellular (single-celled) or be composed of,
      as in humans, many trillions of cells grouped into
      specialized tissues and organs.

[http://en.wikipedia.org/wiki/Organism (8/1/2010)].   Since the meaning of

“non-caustic” was initially stipulated to, such that it has never

been construed by the Court in an adversarial setting, the

current dispute over the meaning of “non-caustic” should lead to

only two possible outcomes, either: (i) Defendants are wrong

about non-caustic applying to microbes; or (ii) the phrase –

“organic tissue, such as the skin of the operator” – is ambiguous and needs to be

construed in an adversarial setting.

      To the extent that the Court needs to re-open the record of

the Markman hearing to construe “non-caustic” in an adversarial

setting in connection with Plaintiff’s motion for a partial new

trial, Plaintiff requests the Court to consider Mr. McNally’s

February 11 hearing testimony for such additional purpose.

McNally’s testimony regarding the prevalence of contact

dermatitis among users in the parts washer industry should be

relevant and admissible in construing “non-caustic.”

      In a similar vein, Plaintiff requests the Court to admit and

consider Plaintiff’s Exhibit 22 (the ‘305 Application Examiner

Interview Summary) as part of the re-opened Markman record.


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      It was noted by the examiner that WIPO’314 [Hakansson-2] and
      EPO’342 [Hakansson-1] fail to specifically or inherently
      disclose in a parts washer, a fluid that is a
      “biodegradable, non-toxic, non-caustic, nonflammable oil
      dispersant cleaner and degreaser”. WIPO’314 [Hakansson-2] and
      EPO’342 [Hakansson-1] fail to specifically or inherently teach
      the same even though employing water.

[Plaintiff’s Exhibit 22].          As part of the prosecution history,

the ‘305 Application is part of the “indisputable public record”

on which the public is entitled to rely in ascertaining the scope

of a patented invention.          Vitronics Corp. v. Conceptronic, Inc. 90 F.3d

1576, 1583 (Fed.Cir. 1996).           Although the ‘305 Application is a

continuation application from the patents-in-suit, a court may

consider the prosecution history in a subsequent continuation

application in construing a common term shared with an earlier

issued patent. See Ventana Medical Systems, Inc. v. Biogenix Laboratories, Inc., 473

F.3d 1173, 1184 (Fed.Cir. 2006) citing Microsoft Corp. v. Multi-Tech Sys.,

Inc., 357 F.3d 1340, 1349 (Fed.Cir. 2004) (recognizing that "the

prosecution history of one patent is relevant to an understanding

of the scope of a common term in a second patent stemming from

the same parent application").

              II.      ARGUMENT AND CITATION OF AUTHORITY.

      Due to time constraints at the hearing on February 11,

Plaintiff did not have an opportunity to orally rebut statements

made during Defendants’ oral argument.              Plaintiff will take this

opportunity to rebut Defendants’ oral statements at the hearing.



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     A.    CONSTRUCTION OF “NON-CAUSTIC.”

     It should have been abundantly clear during Defendants’

closing argument that Defendants absolutely depend on the

construction of “non-caustic” encompassing the health of microbes

in order to support their position that the cleaning fluid

limitation is inherently present in Hakansson-2.      [2/11 Transcript,

pp. 165-168].   In addition, Defendants absolutely depend on

inadmissible testimony that they introduced through Dr. Adriaens

in violation of an in limine ruling to establish that the

limitation, as improperly construed, is inherently present.

     According to Hakansson-1, microbes can biologically function

in a parts washer cleaning fluid at a pH of at least 9.5.

     ... alkaline pH-value which will not block microbial growth.
     This pH-value is, at present, about 9.5 ...

[Hakansson-1, p. 2, line 59-62].     Defendants introduced no evidence

at trial that a cleaning fluid of 9.5 pH will not cause contact

dermatitis or some other health concern in a parts washer user.

Thus, a cleaning fluid of Hakansson-1 (or Hakansson-2) at a pH of 9

or above could provide an acceptable host environment for

microbes and still expose the operator to skin damage or other

adverse health effects.




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                                            Hakansson‐1

                                                             “Caustic”
                                ChemFree
          “Non‐caustic”




 1                                      7                                      14
     Acidic                   Neutral                     Alkaline

      Figure 1 – Demonstrative Illustration Showing Where ChemFree and
      Hakansson-1 Respectively Lie on the pH Scale. Hakansson-1’s Preferred
      Operating Range Of 9.2 to 9.4 pH Is Well Above The “Non-Caustic” Range
      of ChemFree Which Teaches Using a Neutral pH.

      Mr. McNally’s testimony on February 11, 2011, corroborated

Dr. Durkee’s trial testimony3 that cleaning fluids above 9.0 pH

are considered caustic in reference to the skin of an operator.

  Q. DID YOU CONSIDER USING THE PH AS HIGH AS 9.5 TO 10.

  A. WE DID NOT CONSIDER PH'S THAT HIGH.

  Q. WHY NOT?

  A. PH'S OF 9 OR ABOVE ARE CONSIDERED IN THE INDUSTRY TO BE
     CAUTIONARY FOR THE REASON THAT EXTENDED EXPOSURE CAN CAUSE
     DERMATITIS IN HUMAN BEINGS.



      3
       I disagree that ... “tenside solution of pH 9-11” ... is
within a pH range that persons in the cleaning industry would
consider “non-caustic” to a human operator. [Durkee 337, pp. 122-
123].


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  Q. WHAT IS THE PH RANGE THAT IS COMMONLY ACCEPTED IN YOUR
     INDUSTRY AS BEING NON-CAUSTIC IN TERMS OF NOT CAUSING DAMAGE
     TO HUMAN SKIN?

  A. THE PH IN THE INDUSTRY OF ABOUT 5.5 TO ABOUT 8.5 IS
     CONSIDERED TO BE SAFE FOR HUMAN USE.

  Q. DOES THAT TAKE INTO ACCOUNT THE AMOUNT OF EXPOSURE THAT A
     USER HAS DURING A DAY AND FROM DAY TO DAY?

  A. YES. IT DOES TAKE INTO ACCOUNT THE FREQUENCY OF EXPOSURE TO
     THE PARTICULAR CHEMICAL.

[2/11 Transcript, pp. 54:11-55:17]

  Q. AS THE GENERAL MANAGER OF A COMPANY THAT SELLS AQUEOUS PARTS
     WASHERS, CAN YOU SAFELY RECOMMEND TO YOUR CUSTOMERS THAT
     THEY CAN WASH PARTS IN A 9.5 PH SOLUTION WITHOUT USING
     PROTECTIVE MEASURES LIKE GLOVES AND GOGGLES?

  A. I WOULD NOT RECOMMEND THAT TO MY CUSTOMERS.

[2/11 Transcript, pp. 58:20-59:3].

     As the party challenging the validity of the patent,

Defendants bore the burden to prove their case with clear and

convincing evidence.   Tokai Corp. v. Easton Enterprises Inc., -- F.3d --,

2011 WL 308370, *6 (Fed.Cir. January 31, 2011).          Moreover, since

the Hakansson technology was before the examiner during

prosecution, that burden is enhanced. Id.        However, there is no

evidence in the record from which the Court can conclude that

Hakansson-2 inherently discloses a cleaning fluid that is not

harmful to human tissue.

     Defendants’ argument that the stipulated construction of

non-caustic encompasses more than just human skin misses the




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point.   Plaintiff’s patent specification clearly indicates that

the health concerns to users involved more than just skin.

     ... it is not uncommon for workers to have dermatitis
     and respiratory problems exacerbated by unprotected use
     of mineral spirits ...

[Joint Exhibit 1, ‘110 Patent, col. 1, lines 34-36].        Humans have

more kinds of “organic tissue” than just skin.       They also have

eyes, and lungs, and digestive systems that can be adversely

affected by exposure to harsh chemicals.

     ... There are four basic types of tissue: muscle, nerve,
     epidermal, and connective.

THE AMERICAN HERITAGE DICTIONARY, 4th ed.       Thus, use of the

phrase - “organic tissue, such as the skin of the operator” – was

entirely appropriate to account for the various different types

of organic tissue.   However, single celled microbes are not

“organic tissue” and Judge Camp clearly erred by applying the

term “non-caustic” to microbes instead of the human operator.

     Finally, and this is just common sense, a fluid that is not

harmful to microbes, but is harmful to the skin and other organic

tissue of the operator should still be considered “caustic.”           A

fluid is not “non-caustic” if it harms the operator, regardless

of its effect on microbes.    Judge Camp committed clear error by

failing to take into account the effect of the cleaning fluid on

skin and other organic tissue of the operator.




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     B.      RELIANCE ON INADMISSIBLE EVIDENCE.

     It should have been abundantly clear during Defendants’

closing argument that Defendants absolutely depend on

inadmissible evidence to support their position that the “non-

caustic” and “non-flammable” limitations are inherently present

in Hakansson-2.   Dr. Adriaens’ testimony about causticity and

flammability was not properly disclosed in his expert reports,

nor was it disclosed by Defendants in response to Interrogatory

No. 5.    The Federal Circuit decries such attempts to sandbag an

opponent.

     We have previously cautioned litigants of the pitfalls of
     playing fast and loose with rules of discovery:

          Conclusory expert reports, eleventh hour disclosures,
          and attempts to proffer expert testimony without
          compliance with Rule 26 violate both the rules and
          principles of discovery, and the obligations lawyers
          have to the court. Exclusion and forfeiture are
          appropriate consequences to avoid repeated occurrences
          of such manipulation of the litigation process.

Tokai Corp. v. Easton Enterprises Inc., -- F.3d --, 2011 WL 308370, *4

(Fed.Cir. January 31, 2011)4 quoting Innogenetics, N.V. v. Abbott Labs.,

512 F.3d 1364, 1376 n.4 (Fed.Cir. 2008).          Dr. Adriaens’ testimony

was carefully and deliberately crafted to circumvent the Court’s




     4
       A copy of the Federal Circuit’s recent decision in Tokai is
attached hereto for the convenience of the Court.


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pre-trial in limine rulings.5      The Federal Circuit’s admonition

regarding – “obligations lawyers have to the court” – rightly comdemns the

Defendants’ deliberate trial strategy in designing Adriaens’

direct examination to circumvent the pre-trial in limine ruling on

inherency.     [Dkt 552, pp. 1-2].

      Plaintiff herein repeats and renews its request that the

Court enforce the pre-trial in limine ruling, strike the

inadmissible testimony on inherency, and reconsider the

obviousness case in light of the admissible evidence. Forest

Laboratories, Inc. v. Ivax Pharmaceuticals, Inc. 237 F.R.D. 106, 114 (D.Del

2006)(striking testimony outside of expert report in post-trial

motion proceeding); Honeywell Int'l, Inc. v. Universal Avionics Systems Corp., 488

F.3d 982, 994-996 (Fed.Cir. 2007); Inline Connection Corp. v. AOL Time

Warner, Inc. 472 F.Supp.2d 604, 614-615 (D.Del. 2007)(expert not

permitted to testify outside of scope of expert report).

      C.     THE TERM “NON-TOXIC,” AS USED IN THE ‘110 AND ‘835
             PATENTS IS NOT LIMITED TO MICROBES.

      At page 178 of the 2/11 transcript, Defendants argued that

Hakansson-2’s fluid is non-toxic because the “bugs don’t die.”

Defendants studiously avoided addressing the issue of whether


      5
       The Court is familiar enough with trial practice to
understand that Adriaens’ trial testimony on “non-caustic” and
“non-flammable” was no accident. It was carefully planned and
rehearsed well in advance of trial.


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“non-toxic” as used in the claims of the ‘110 and ‘835 Patents

applies to users as well as microbes (“bugs”).

      Still another object of the present invention is to provide
      a cleaning system that does not have a toxic effect on
      users.

[‘110 Patent, Col 2, lines 66-67 (emphases added)].                Defendants

presented no evidence at trial that the cleaning fluid of

Hakansson-2 is expressly or inherently non-toxic to users.               The

claim limitations in the ‘110 and ‘835 Patents that the cleaning

fluid is “biodegradable, non-toxic, non-caustic, and non-flammable” is not met

because defendants failed to prove that Hakansson-2’s cleaning

fluid is “non-caustic” – and – “non-toxic“ – to users.6

      D.    DEFENDANTS’ SILENCE ON THE SIGNIFICANCE OF THE
            EXAMINER’S AMENDMENT DURING PROSECUTION TO DISTINGUISH
            OVER THE HAKANSSON TECHNOLOGY.

      Defendants’ argument at the hearing on 2/11 studiously

avoided addressing the significance of the Examiner’s Amendment

that added the language – “biodegradable, non-toxic, non-caustic, non-flammable”

– to the pending claims and which allowed the claims, as amended,

to overcome a rejection based on Hakansson-1. [See Joint Exhibit

10, pp. J1690-96; Joint Exhibit 7, p. J854].



      6
       In contrast, the claims in the ‘125 Patent qualify the
term ‘non-toxic’ as applying to the microbes – for example - “a
biodegradable, non-caustic, non-flammable oil dispersant cleaning
and degreasing fluid that is non-toxic to the microorganisms,” [Joint
Exhibit 4, ‘125 Patent, claim 6].


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     The Examiner’s Amendment narrowed the claims so as to render

them patentable over the prior art, including the Hakansson

technology.   “The prior art cited in the file wrapper gives clues

as to what the claims do not cover.”       Autogiro Co. of America v. United

States, 384 F.2d 391, 399 (Ct.Cl. 1967).     “By distinguishing the

claimed invention over the prior art, an applicant is indicating

what the claims do not cover, he is by implication surrendering

such protection.”    Ekchian v. Home Depot, Inc., 104 F.3d 1299, 1304

(Fed.Cir. 1997).

     One of the advantages of Plaintiff’s invention over the

prior art is the “user friendliness” of its pH neutral, non-

caustic cleaning fluid.       With Plaintiff’s invention, users, for

the first time, could wash parts without using gloves and goggles

and without a substantial risk of contracting dermatitis.                By

misconstruing and misapplying the meaning of “non-caustic,” Judge

Camp’s ruling effectively deprived Plaintiff’s invention of a

significant advantage over the prior art.         Specifically, it

deprived Plaintiff’s claims of the benefit of the Examiner’s

Amendment that distinguished Plaintiff’s invention over the prior

art, including Hakansson-1.

     E.    RELIANCE ON “OTHER” PRIOR ART NOT DISCLOSED IN LOCAL
           RULE INVALIDITY CONTENTIONS OR EXPERT REPORTS.

     At pages 154-156 of the 2/11 transcript, Defendants argue

that the Court should consider prior art other than Hakansson-2 and


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Athey.    During argument, Defendants’ counsel projected a page from

Dr. Durkee’s expert report on the screen using the courtroom

ELMO.     Plaintiffs do not deny that Dr. Durkee’s report addressed

prior art other than Hakansson-2 and Athey, however, Dr. Durkee’s

report at Docket 337 was prepared before the Court excluded many

of Defendants’ references as a discovery sanction and,

consequently, Dr. Durkee did discuss and distinguish several

references that Defendants were not permitted to rely on at

trial.

         The issue here is not whether “other art” existed.       The

Court no doubt recalls that Plaintiff projected page 2 of the

‘125 Patent on the screen showing that Plaintiff’s patent was

allowed by the PTO over more than one hundred references.           The

issue here is whether Defendants are entitled to rely on art that

was not timely disclosed and was excluded as a discovery

sanction.

         35 U.S.C. § 282 requires patent challengers to disclose the

art they intend to rely on to prove invalidity before trial.              By

local rule, Defendants must make their invalidity disclosures by

pre-set deadlines and disclose not only the references, but how

the patent challenger intends to use the references.           ChemFree

Corp. v. J.Walter, Inc., 250 F.R.D. 570, 572 (N.D.Ga. 2007).   The local

rule requires a patent challenger to disclose discrete



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combinations of references that are to be combined in an

obviousness analysis.     LPR 4.3, 4.4 ND Ga.     The local rule also

requires the patent challenger to disclose a practitioner’s

motivation to make such a combination. Id.

     After the Court entered a series of exclusion orders,7

Defendant was left with Hakansson-2 and Athey.    Defendants knew it

was impossible to prove obviousness over those two references,

particularly where Defendants’ expert report was stricken as

inadequate under Fed.R.Civ.P. 26(a)(2)(B).        Consequently,

Defendants somehow convinced Judge Camp to ignore his own

evidence exclusion orders and consider prior art that was not

properly disclosed under the local patent rules.         Judge Camp’s

findings regarding “general knowledge of a person of ordinary

skill in the art” [June 18 Order, Dkt 619, p. 51], and an

unspecified “existing fluid” [Id. at pp. 46-47], clearly refer to

art other than Hakansson-2 and Athey.

     Plaintiff reasonably relied on the pre-trial evidence

exclusion orders in preparing its case.       What, after all, is the

point of having discovery rules and pre-trial evidence exclusion

orders if the restricted party can disregard them with impunity

at trial?    Plaintiff submits that Judge Camp erred by relying on




     7
         [Orders at Dkt 274, 414, 464, 552, 574].


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prior art that he had previously ruled was inadmissible at trial

as a discovery sanction.

       Notwithstanding, the vague references to “general knowledge

of a person of ordinary skill in the art” [June 18 Order, Dkt

619, p. 51] and the unspecified “existing fluid”            [Id. at pp. 46-

47] do not, by any means, establish that Plaintiff’s patent

claims are obvious.      Rather, at most, they merely indicate that

some isolated elements of the invention were known in the prior

art.    However, it is settled law that a patent composed of

several elements is not proved obvious merely by demonstrating

that each of its elements was, independently, known in the prior

art.    KSR Int’l Co. v. Teleflex, Inc., 127 S.Ct. 1727, 1740, 167 L.Ed.2d

705 (2007).     Defendants were required by Local Patent Rule 4.3

and 4.4 to timely disclose discrete combinations of references

and the motivation to combine them.          Defendants presented no

evidence at trial as to how someone of ordinary skill in the art

would combine multiple references or what the motivation would be

to do so.     Judge Camp clearly erred in sua sponte filling this

vacuum in Defendants’ evidentiary presentation.

       F.    THE ENRETECH FLUID USED IN PLAINTIFF’S EXPERIMENTAL
             PROTOTYPE SUPPORTS THE NON-OBVIOUSNESS OF PLAINTIFF’S
             INVENTION.

       At pages 176-177 of the 2/11 transcript, Defendants

incorrectly argue that “there were people in this space who were




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looking at how they might be able to combine” microbes and fluids

for use in parts washer.        Defendants then cited the Enretech

green fluid that Plaintiff used in its early prototypes as an

example of “people in this space.”   First of all, the Enretech fluid

was not a parts washer fluid.         It was intended to be plowed into

the ground to remediate soil contamination.         [2/11 transcript,

pp. 35-36, McNally].       Secondly, it did not work reliably in a

parts washer application.        [2/11 transcript, pp. 36-39, McNally].

If anything, the Enretech fluid illustrates the difficulties in

adapting fluids developed for in situ environmental contamination

clean-up to a parts washer application.         A microbial fluid

developed for one-time use to remediate soil contamination does

not necessarily work in a parts washer where the fluid is re-used

for up to a year. [Durkee 337:75-80, 150-151].

      Practitioners of ordinary skill in the parts washer art that
      were familiar with Hakansson-1 & -2 would not be inclined to
      modify the traditional, solvent or aqueous, sink-on-a-drum
      (or similar) parts washer apparatus by combining it with a
      fluid that had been developed to transport microorganisms to
      an environmental clean-up site. Environmental clean-up
      products are designed for a single application. Once the
      nutrients and/or surfactants in the carrier fluid have
      served their purpose of transporting the microbes to the
      clean-up site, it matters not that the surfactants are
      biologically digested by the microbes along with the
      hydrocarbon contaminants. Indeed, it is desirable that the
      microbes biodegrade the surfactants in situ, or else the party
      dumping the fluid onto a contaminated site would merely be
      substituting one contaminant for another.




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[Durkee 337:150].    Dr. Durkee was the only qualified expert who

testified on this issue at trial.      His testimony was unrebutted

at trial.

     The Examiner allowed Plaintiff’s claims over references

teaching in situ remediation microbial fluids.     For example, U.S.

Patent 5,354,789 to Guinn is directed to a microbial cleaner that

comprises at least one hydrocarbon-ingesting microbe strain and a

nonionic surfactant and is cited on the face of all of the

patents-in-suit.8    Plaintiff’s expert, Dr. Durkee, distinguished

Guinn and other environmental contamination clean-up microbial

fluids in his report.

     There is no teaching in either Guinn or Kaiser from which an
     ordinary practitioner, in 1994, would discern that either
     Guinn or Kaiser avoided the pH control issues identified in
     Hicks, above. Furthermore, there is no teaching in Guinn or
     Kaiser that suggests that the pH balance problems identified
     in Hakansson had been solved.

[Durkee 337:150].    Again, Dr. Durkee was the only qualified

expert who testified on this issue at trial.




     8
       See Joint Exhibit 12 – Plaintiff’s Non-Provisional
Application No. 08/370,898 - excerpts at pp. J2101-11 (Office
Action Rejection over Guinn); pp. J2156-2158 (U.S. Patent
5,354,789 to Guinn); pp. J2193-2208 (Amendment and Response to
Office Action distinguishing Guinn at pp. J2203-2206


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     G.    REFERENCE TO “BIOLOGICAL” IN HAKANSSON-2 CANNOT BE
           INTERPRETED AS SYNONYMOUS WITH NON-CAUSTIC IN
           PLAINTIFF’S PATENT.

     At page 159 of the 2/11 transcript, Defendants argue that

Hakansson-2 refers to three kinds of aqueous cleaning fluids –

“alkaline” – “acidic” and “biological,” suggesting that

“biological” means that it is “in the middle” between alkaline

and acidic.   Defendants want the Court to make a leap of faith

that “biological” in Hakansson-2 should be considered as meaning

the same thing as “non-caustic” in Plaintiff’s patents.          There is

no evidentiary basis to make such a leap.         Hakansson’s earlier

publication, Hakansson-1, taught a “biological” system at alkaline

pH values that are caustic to human tissue.

     ... alkaline pH-value which will not block microbial growth.
     This pH-value is, at present, about 9.5 ...

[Hakansson-1, p. 2, line 59-62].     Thus, “biological” systems can be

sufficiently alkaline that they are caustic to human tissue.

     Finally, it bears mention that chemical properties other

than pH can irritate human tissue.          For example, mineral spirits

can cause dermatitis even though, as an organic solvent, it is

not considered to have a pH.       [‘110 Patent, Col. 1; 2/11

transcript, p. 64, McNally].       Hakansson-2 does not disclose enough

information regarding its fluid to ascertain its chemical

properties vis-à-vis human skin and other organic tissue.          The

mere possibility that it “might” be non-caustic is insufficient.


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      Inherency may not be established by probabilities or
      possibilities. The mere fact that a certain thing may
      result from a given set of circumstances is not sufficient.

Therasense, Inc. v. Becton, Dickinson and Co., 593 F.3d 1325, 1332 (Fed.Cir.

2010), see also Trintec Indus., Inc. v. Top-USA Corp., 295 F.3d 1292, 1295

(Fed.Cir. 2002)(inherency requires that the missing descriptive

material is ‘necessarily present,’ not merely probably or

possibly present, in the prior art).

      Throughout the trial, post-trial briefing, and the hearing

on February 11, 2011, Defendants have identified no evidence that

a person of ordinary skill in the art of parts washing would

recognize that Hakansson-2 unavoidably teaches a fluid that is safe

for extended contact with human skin.

      The very essence of inherency is that one of ordinary skill
      in the art would recognize that a reference unavoidably
      teaches the property in question.

Agilent Tech., Inc. v. Affymetrix, Inc., 567 F.3d 1366, 1383 (Fed.Cir. 2009).

      An inherent property must necessarily be present in the
      invention ... and it must be so recognized by persons of
      ordinary skill in the art.

Id. quoting Hitzeman v. Rutter, 243 F.3d 1345, 1355 (Fed.Cir.

2001)(emphasis added).

      H.    REPLY TO DEFENDANTS’ CONTENTION THAT THE COMPLEXITY OF
            HAKANSSON-2 INDICATES THAT THE TECHNOLOGY HAD MOVED
            BEYOND PLAINTIFF’S INVENTION BEFORE PLAINTIFF’S DATE OF
            INVENTION.

      At page 160, Defendants argued that the complexity of

Hakansson-2 indicated that the state of the art had “already


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passed” where Plaintiff’s inventors were at the time of their

invention.    Defendants contend that, since Hakansson’s technology

is complex, there must have been something simpler that preceded

it.   There is no evidence to support this contention.           It is mere

unsubstantiated attorney argument.          “Unsubstantiated attorney

argument regarding the meaning of technical evidence is no

substitute for competent, substantiated expert testimony.“

Invitrogen Corp. v. Clontech Labs, Inc., 429 F.3d 1052, 1068 (Fed.Cir. 2005).

If Defendants were correct (they are not), one would expect to

find Plaintiff’s invention in the prior art sometime before the

advent of Hakansson-1 in the mid-to-late 1980’s, but no such art

exists.

      Embodiments of Plaintiff’s invention could remain at a

stable pH for over one year without suffering a downward shift of

pH due to acid generation. [‘110 Patent, Col. 7, line 21 –

“extended periods of time”].

  Q. HOW LONG DID SOME OF YOUR PARTS WASHERS STAY IN OPERATION
     WITHOUT UNDERGOING A COMPLETE FLUID REPLACEMENT?

  A. DURING THE TRIAL PERIOD WE HAD MACHINES THAT WOULD NOT
     REQUIRE CHANGING FLUID OUT FOR MORE THAN A YEAR.

  Q. DID YOU MAKE ANY OBSERVATIONS OF THE STABILITY, THE PH OF
     THE CLEANING FLUID, OVER TIME?

  A. YES. IN THE TEST MACHINES, THE PH WOULD STAY BETWEEN A 7 AND
     AN 8.

[2/11 Transcript, p. 62:5-18, McNally].         Thus, Plaintiff’s

invention demonstrated that a bioremediation parts washer could


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function for extended periods without the pH, and nutrient, and

tenside monitoring and metering subsystems of Hakansson.

[Hakansson-2, Figure 1, features 33, 34, 49].      Hakansson followed

the conventional wisdom that acid generation would shift the pH

down.

        In the case of large bacteria populations, the pH-value may
        fall rapidly due to high consumption of emulsifying
        chemicals and to the generation of acid by dead bacteria.
        Consequently, in order to prevent the tenside-consumption
        from becoming excessive, the nutrient solution introduced to
        the bath may also contain a pH-increasing substance suitable
        for tensides ...

[Joint Exhibit 7, p. J694, (Plaintiff Ex. 75) Hakansson-1, p. 8,

line 26-29].     Hakansson followed the conventional wisdom of the

day in environmental sciences.

        In conjunction with microbial growth, pH may decline in
        response to the generation of organic acids from metabolic
        activity.

[Joint Exhibit 15 – J2988-2991, Hicks et al, Bioremediation: A Natural

Solution, POLLUTION ENGINEERING, January 15, 1993, quoted in expert

report of Dr. Durkee, Docket 337, pp. 150-151].         The problem of

acid generation in prior art systems was acknowledged by

Defendants’ expert, Dr. Adriaens, in his expert report.

        Hakansson is correct that all biodegradation processes
        generate acids (this has been known for 40 years, ever since
        wastewater treatment plants came in operation) resulting
        from the breakdown of any surfactants, hydrocarbons and from
        the decomposition of dead cells. Hence, pH adjustments are
        desirable as a biodegrading reactor (parts washing tank)
        operates over extended periods.



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[Expert Report of Peter Adriaens, PhD, Docket 354, p. 46].

     Plaintiff’s invention also demonstrated that its system

could work without fashioning the holding tank into a conical

settling chamber to remove copious quantities of dead bacteria.

     A slurry of dead bacteria and contaminants is also formed,
     accompanying the washing liquid from the objects in the
     washing chamber 1. This slurry is allowed to settle in the
     lower portion of the washing liquid container 14, which is
     conical and is located below the duct 37, so that in this
     lower portion a region is formed without any significant
     movements in the washing liquid. Contributing to this is
     the fact that the supply line 15 removes washing liquid at a
     relatively high level from the washing liquid container 14.
     At the very bottom of the washing liquid container 14, there
     is a drain pipe 40 with a valve 41 which enables the settled
     slurry to be removed from the container 14. This should be
     done continuously or at short intervals in order to prevent
     anaerobic bacteria growth, which otherwise occurs relatively
     rapidly.

[Hakansson-2, p. 9, lines 21-37].

     In the case of large bacteria populations, the pH-value may
     fall rapidly as a result of the high consumption of
     emulsifying chemicals and also as a result of acid
     generation by dead bacteria ... A high degree of bacteria
     activity is required when large quantities of organic
     contaminants enter the bath. Large numbers of bacteria are
     also killed therewith. Certain bacteria species when dead
     produce toxic substances which are liable to destroy the
     biological life. Consequently, it is essential to separate
     dead bacteria continuously from the cleaning bath. Since
     dead bacteria have a low sedimentation rate (about 0.1 m/h)
     their separation from the bath may at times prove
     troublesome.

[Hakansson-1, p. 3, lines 19-40].

     No one solved the problems of excess acid generation and

accumulation of dead bacteria identified in the Hakansson



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technology until Plaintiff’s invention.          Plaintiff’s discovery,

for the first time, allowed bioremediation to take place in a

small, open-basin, sink-on-a-drum style parts washer.           The law of

obviousness recognizes that simplifying a previously complex

system is an indicia of non-obviousness.

     simplicity does not establish obviousness; indeed,
     simplicity may represent a significant and unobvious advance
     over the complexity of prior devices.

Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1569 (Fed.Cir. 1996).

     Hakansson-2 is a closed cabinet parts washer that uses high

pressure spray to remove contaminants from parts.          [Joint Exhibit

27, Hakansson-2, p. 7, lines 15-17].        Defendants’ obviousness

theory cherry picks the bioremediation feature from Hakansson-2,

but then disregards the closed cabinet, the high pressure spray,

the pH monitoring and metering subsystems, and the conical

settling chamber and purge valve to remove dead microbes.

Similarly, Defendants’ obviousness theory cherry picks just the

integrated heater, thermostat and level control subsystem from

Athey, but disregards the fact that it is a closed cabinet, high

temperature, single chamber commercial dishwasher.          The Supreme

Court, in Dennison Mfg. Co. v. Panduit Corp., 475 U.S. 809, 106 S.Ct.

1578, 89 L.Ed.2d 817 (1986) recognized that a district court is

not to rely on hindsight, and that -

     in addressing the question of obviousness a judge must not
     pick and choose isolated elements from the prior art and


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     combine them so as to yield the invention in question if
     such a combination would not have been obvious at the time
     of the invention.

475 U.S. at 810, quoted in Abbott Labs v. Sandoz, 544 F.3d 1341, 1348

(Fed.Cir. 2008).     In Graham v. John Deere Co., 383 U.S. 1, 86 S.Ct.

684, 15 L.Ed.2d 545 (1966) the Supreme Court recognized that the

obviousness inquiry must “guard against slipping into use of

hindsight and to resist the temptation to read into the prior art

the teachings of the invention in issue.” 383 U.S. at 36.

     To draw on hindsight knowledge of the patented invention,
     when the prior art does not contain or suggest that
     knowledge, is to use the invention as a template for its own
     reconstruction - an illogical and inappropriate process by
     which to determine patentability. W.L. Gore Assoc. v. Garlock, Inc.,
     721 F.2d 1540, 1553, 220 USPQ 303, 312-13 (Fed.Cir. 1983).
     The invention must be viewed not after the blueprint has
     been drawn by the inventor, but as it would have been
     perceived in the state of the art that existed at the time
     the invention was made. Interconnect Planning Corp. v. Feil 774 F.2d
     1132, 1138, 227 USPQ 543, 547 (Fed.Cir. 1985).

Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1570 (Fed.Cir. 1996).

     In the complete absence of receiving any competent,

qualified expert testimony from the Defendants on combining and

modifying the prior art, Judge Camp is guilty of “picking and

choosing” isolated elements of the prior art, using Plaintiff’s

patent as a “template” or “blueprint” to reconstruct the

invention.    This is the classic “hindsight” analysis, which the

Federal Circuit terms an “illogical and inappropriate process”

for determining patentability.



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      The Court should not penalize the Plaintiff’s inventors for

the manner in which they made their discovery.

      Patentability shall not be negatived by the manner in which
      the invention was made.

35 U.S.C. § 103.

      ... at the time of invention, the inventor's insights,
      willingness to confront and overcome obstacles, and yes,
      even serendipity, cannot be discounted.

Ortho McNeil Pharmaceutical, Inc. v. Mylan Laboratories, Inc., 520 F.3d 1358, 1364

(Fed.Cir. 2008).       Nor do courts deprive inventors of their

discoveries because they are not sophisticated scientists with

advanced post-graduate college degrees and, therefore, may not

fully comprehend the underlying science of their invention.

      An inventor need not comprehend the scientific principles on
      which the practical effectiveness of his invention rests,
      nor is the inventor's theory or belief as to how his
      invention works a necessary element in the specification to
      satisfy the enablement requirement of 35 U.S.C. § 112.

Cross v. IIzuka, 753 F.2d 1040, 1042 (Fed.Cir. 1985), citing Fromson v.

Advance Offset Plate, Inc., 720 F.2d 1565, 1570 (Fed.Cir. 1983).

      I.    REPLY TO DEFENDANTS’ CONTENTION THAT CLEANING FLUIDS
            WERE READILY AVAILABLE.

      At page 162 of the 2/11 transcript, Defendants argued that

the availability of existing cleaning fluids, as determined

during the enablement summary judgment proceeding, supports the

obviousness of Plaintiff’s invention.            No it does not.

      The conventional wisdom in the parts washing industry at the

time of the invention taught that caustic, alkaline chemicals


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were needed to get parts clean.     [Durkee 337:46-59].         ChemFree

was at the forefront of moving the parts washing industry in the

direction of using cleaning fluids that were pH neutral and safe

to use in an open basin cleaning environment.9         It is no accident

that Defendants have been unable to find any prior art parts

washing fluids that used non-caustic chemicals in order to

promote operator safety.

     At the time of the invention, there were hundreds, if not

thousands, of cleaning fluids for a wide variety of product

applications.   [2/11 transcript, p. 29, McNally].          Plaintiff’s

inventors demonstrated ingenuity by departing from the

conventional wisdom of using alkaline, caustic chemicals and

adapting a biodegradable, non-toxic, pH neutral (non-caustic),

non-flammable cleaning fluid from an unrelated product

application to use in an aqueous parts washer that could also

bioremediate hydrocarbons.    The fact that such cleaning fluids

might have “existed,” for use in unrelated product applications,

does not establish obviousness.     KSR Int’l Co. v. Teleflex, Inc., 127 S.Ct.

1727, 1740, 167 L.Ed.2d 705 (2007)(a patent composed of several

elements is not proved obvious merely by demonstrating that each

of its elements was, independently, known in the prior art).

     9
       See 2/11 Transcript, pp. 71:9 – 72:11. Mr. McNally’s
testimony regarding the military revising its parts cleaning
specifications from a pH of 10 or more to a neutral pH in light
of its experiences with ChemFree.


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     The following teaching in Plaintiff’s patent specification

was considered novel in the field of parts washing at the time of

the invention:

     In accordance with the preferred embodiment of the present
     invention, the cleaning fluid 72 is compatible with (i.e.,
     is non-toxic to) the microorganisms such that the
     microorganisms are capable of living within the cleaning
     fluid 72. Additionally, the cleaning fluid 72 tends to
     remove organic waste from parts washed in the basin 14, as
     will be discussed in greater detail below. An acceptable
     cleaning fluid 72, for example and not limitation, is a
     mixture of pH neutral emulsifiers and surfactants containing
     no volatile organic compounds, phosphates, formaldehyde,
     biocides, or other toxic materials. The emulsifier and
     surfactants are blended in liquid form to produce a
     biodegradable, non-toxic, non-caustic, non-flammable oil
     dispersant cleaner and degreaser. Further, and for example
     and not limitation, the exemplary acceptable cleaning fluid
     72 contains no known carcinogens, no OSHA (Occupational
     Health and Safety Act) or DOT (United States Department of
     Transportation) regulated chemicals, no ingredients
     requiring SARA (Superfund Amendments and Reauthorization
     Act) Title III reporting, no RCRA (Solid Waste Disposal Act
     as amended by the Resources and Conservation Recovery Act of
     1976 as amended), hazardous waste chemicals, and no items on
     the CERCLA (Comprehensive Environmental Response,
     Compensation and Liability Act) hazardous substance list
     (based upon the relevant regulations at the time this
     application was filed). Additionally, and for example and
     not limitation, the exemplary cleaning fluid 72 is a freely
     flowing liquid with a specific gravity of 1.083, a slight
     pleasant odor, no flash point, a boiling point of
     210.degree. Fahrenheit, a pH of approximately seven, and
     which is infinitely soluble in water. In accordance with
     the preferred embodiment of the present invention, an
     acceptable example of the cleaning fluid 72 is available
     from Warren Chemical Corporation of Robert, La., as part
     number SeaWash 7.

[Joint Exhibit 1, ‘110 Patent, Col 5, line 65 – Col. 6, line 31].

Adapting a pH neutral fluid like SeaWash-7, that had never before

been used in a parts washer product application, and combining it


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with bioremediation microbes and the other elements of

Plaintiff’s invention constituted an act of invention.

     J.     REPLY TO DEFENDANTS’ ARGUMENT REGARDING THE NEXUS
            BETWEEN DEFENDANTS’ LAUDATORY STATEMENTS AND THE
            CLAIMED INVENTION.

     At page 168 of the 2/11 transcript, Defendants argue that

there is an insufficient nexus between the laudatory statements

in their product advertising and the claimed invention.                    This

argument is belied by a review of their advertisements.

     Defendants’ print, web, and video advertising go beyond

merely promoting bioremediation.            They go right at the unique,

novel, user-friendly aspects of Plaintiff’s non-caustic cleaning

fluid.    Note the following excerpt from Plaintiff’s Exhibit 24:




                   Figure 2 – Excerpt from Plaintiff’s Exhibit 24

Defendants juxtapose the words pH neutral (i.e., non-caustic),

non-toxic, biodegradable, and non-flammable together almost as if

copied directly from Plaintiff’s patent claims.                     The Court will


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find Plaintiff’s Exhibit 88 of particular interest.                         This video

features Tonight Show Host Jay Leno with Defendants’ CEO, Tim

Houghton, who attended the hearing on February 11, 2011.




       Figure 3 – Screen-shot Excerpt from Jay Leno video - Plaintiff’s Exhibit 88.

     In the video, Mr. Houghton brags to Jay Leno about how

Defendants’ cleaning fluid is so user-friendly that workers use

Defendants’ accused system to wash their hands at the end of the

work day.   Mr. Houghton then turns the system on and demonstrates

by washing his hands in the cleaning fluid.

     Plaintiff’s Exhibit 87 is also worth reviewing.                          It is

another promotional video that touts the advantages of

Defendants’ accused system over mineral spirits parts washers.

The video parodies old-fashioned, black and white, “silent”

movies showing a parts washer operator reacting to his work




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environment.    Some of the “silent movie” screen captions say

sarcastic things like:

     “Ah! I love the fresh scent of toxic solvent in the
     morning.”

     “And I just love the idea of ruining my health in the
     long run.”

     “Solvent may be toxic, flammable and hazardous to my
     health, but at least its disposal is quick and easy.”

[Plaintiff’s Exhibit 87 (video)].       Defendants’ advertising

touting the health advantages of Defendants’ accused system is

sufficient to establish a nexus for such advertising to

constitute a strong secondary consideration of non-obviousness.

     Several objective indicia, however, warrant consideration in
     this case. For instance, before this litigation, Baxter
     recognized calibration during dialysis as a significant
     advance. Baxter touted the advantages of AUTO-ADJUST, as it
     termed automatic recalibration during dialysis, in the
     advertising for the allegedly infringing Baxter SPS 550
     machines. Baxter's recognition of the importance of this
     advance is relevant to a determination of nonobviousness.
     See Allen Archery, Inc. v. Browning Mfg. Co., 819 F.2d 1087, 1092, 2
     USPQ2d 1490, 1493 (Fed.Cir. 1987).

Gambro Lundia AB v. Baxter Healthcare Corp., 110 F.3d 1573, 1579 (Fed.Cir.

1997).

     K.    REPLY TO DEFENDANTS’ ARGUMENT REGARDING THE
           FLAMMABILITY OF HAKANSSON-2’S CLEANING FLUID.

     Defendants’ entire case on “non-flammable” boiled down to

one inadmissible question and answer at trial.

  Q. IN YOUR EXPERIENCE, ARE SURFACTANTS GENERALLY FLAMMABLE OR
     NONFLAMMABLE?




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  A. THEY ARE NOT FLAMMABLE. I HAVE NOT FOUND ANY EVIDENCE THAT
     THEY ARE FLAMMABLE.

[TR 771:11-14, Dr. Adriaens].            Plaintiff moves to strike this

testimony as inadmissible under the pre-trial in limine ruling

precluding Defendants from introducing evidence of inherency.

[Order, Dkt 552, pp. 1-2].

        Whether Dr. Adriaens is aware of it or not, there are

surfactants that are highly flammable.              One example is Lubrizol’s

SulfochemTM EA-60 and ES-60 surfactants. [2/11 transcript, p. 44,

McNally].       Product literature on Lubrizol’s surfactants is

publicly available on the internet.             Dr. Adriaens is not an

expert in parts washing generally or in parts washing chemistry

in particular.        Sundance, Inc. v. Demonte Fabricating Ltd, 550 F.3d 1356

(Fed.Cir. 2008)(testimony by witness lacking relevant technical

expertise fails the standard of admissibility under Fed.R.Evid.

702).        Dr. Adriaens’ ignorance of publicly available information

on flammable surfactants hardly suffices to meet Defendants’

burden of proof of clear and convincing evidence.10

        In the aftermath of Plaintiff’s motion to strike Adriaens’

inadmissible testimony, coupled with McNally’s testimony about

Lubrizol surfactants, Defendants changed their tune on non-


        10
      Dr. Adriaens’ testimony could have been easily refuted at
trial had Defendants made the proper pre-trial disclosures during
discovery. The Court should enforce the in limine ruling on this
matter. [Order, Dkt 552, pp. 1-2].


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flammability at the hearing.     During argument on 2/11, Defendants

dropped their argument that Hakansson-2 is inherently non-flammable

and, instead, argued that it would have been obvious for a

practitioner to use a non-flammable fluid. [2/11 transcript, pp.

170-172].    Defendants argued that a practitioner would never use

a potentially flammable fluid with a heater.       This is mere

attorney argument unsupported by proper evidence.        U.S. Patent

5,492,139 to Lashmett, which Plaintiff distinguished during

prosecution, used an aqueous cleaning fluid containing 16 percent

alcohol. [Col 3].11    This concentration renders the fluid

flammable.

     Lashmett’s cleaning fluid is 16 percent alcohol, which persons
     of skill in the art would recognize as flammable.

[Durkee Dkt 337:136-137].    Durkee’s testimony on this issue was

unrebutted at trial.    Lashmett’s parts washing apparatus included a

heater.

     The heater 20 is activated to cause the fluid within the
     tank to be heated to the appropriate temperature for causing
     the maximum vitality and activity of the microorganisms
     within the fluid. The preferred range of temperature for
     the fluid should be between 80o and 100oF, and the preferred
     temperature is approximately 90oF.




     11
      A copy of Lashmett may be found at Joint Exhibit 6, pp.
J151-157.


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[Lashmett, col. 4, lines 15-20 (emphasis added)].12           Lashmett’s use of

a heater to warm a flammable fluid to promote microbial activity

in a parts washer disposes of Defendants’ unsubstantiated

attorney argument that a practitioner would have necessarily used

a non-flammable fluid at the time of Plaintiff’s invention.               The

following testimony from Dr. Durkee was unrebutted at trial.

      A person of mere ordinary skill in the art would not be
      expected to have the expertise to modify Lashmett’s cleaning
      fluid so as to reduce the alcohol content to reduce the
      flammability factor and still have a reasonable expectation
      of achieving acceptable overall performance for both
      cleaning and sustainment of microorganisms.

[Durkee Dkt 337:136-137].

      L.    INCONSISTENT POSITIONS DURING ENABLEMENT AND
            OBVIOUSNESS.

      At pages 172 – 174 of the 2/11 transcript, Defendants

resurrect their failed argument that every conceivable embodiment

of an invention that fits within the scope of a claim must be

operable in order for a patent to be “enabled.”             This argument is

categorically incorrect.

      Even if some of the claimed combinations were inoperative,
      the claims are not necessarily invalid. It is not a
      function of the claims to specifically exclude possible
      inoperative substances.

Atlas Powder Co. v. E.I. du Pont de Nemours & Co., 750 F.2d 1569, 1576

(Fed.Cir. 1984).

      12
      Lashmett’s application filing date is August 1, 1994, after
Plaintiff’s invention and, therefore, is not “prior art” to
Plaintiff’s patents.


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      Defendants confuse the concepts of difficulty and

obviousness, suggesting that any patent that is not difficult to

practice must be obvious.         However, just because a practitioner

can follow the teachings of an enabled patent to practice an

invention does not mean that a practitioner would find it obvious

to develop the same invention from just the prior art.                 Here

again, Defendants invite the Court to engage in improper

hindsight analysis.

      Mylan's expert, Dr. Anderson, simply retraced the path of
      the inventor with hindsight, discounted the number and
      complexity of the alternatives, and concluded that the
      invention of topiramate was obvious. Of course, this
      reasoning is always inappropriate for an obviousness test
      based on the language of Title 35 that requires the analysis
      to examine “the subject matter as a whole” to ascertain if
      it “would have been obvious at the time the invention was made.” 35 U.S.C. §
      103(a) (emphasis added). In retrospect, Dr. Maryanoff's
      pathway to the invention, of course, seems to follow the
      logical steps to produce these properties, but at the time
      of invention, the inventor's insights, willingness to
      confront and overcome obstacles, and yes, even serendipity,
      cannot be discounted ... a flexible TSM test remains the
      primary guarantor against a non-statutory hindsight analysis
      such as occurred in this case.

Ortho McNeil Pharmaceutical, Inc. v. Mylan Laboratories, Inc., 520 F.3d 1358, 1364

(Fed.Cir. 2008)(emphasis added).           As noted by the Federal

Circuit, retracing the path of the inventor with hindsight is

“always inappropriate” for an obviousness test.               However, this is

precisely what Defendants invite the Court to do.




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       M.      ARGUMENT THAT ANY “SINGLE COMBINATION” ESTABLISHES
               OBVIOUSNESS.

       At page 175 of the 2/11 transcript, Defendants argued that –

“if there is a single combination out there, then it is obvious.”   However, once “non-

caustic,” “non-toxic,” and “non-flammable” are properly construed

and applied, Defendants have failed to establish the existence of

– “a single combination out there” – in the prior art.                Otherwise,

Defendants’ statement is still a gross misstatement of the law.

A patent composed of several elements is not proved obvious

merely by demonstrating that each of its elements was,

independently, known in the prior art.                       KSR Int’l Co. v. Teleflex, Inc.,

127 S.Ct. 1727, 1740, 167 L.Ed.2d 705 (2007).

       In order to combine references for an obviousness

determination, some kind of reason must be shown as to why a

person of ordinary skill would have thought of either combining

two or more references or modifying one to achieve the patented

invention.        Innogenetics, N.V. v. Abbott Laboratories, 512 F.3d 1363 (Fed.Cir.

2008).      “There must be some articulated reasoning with some

rational underpinning to support the legal conclusion of

obviousness.”          In re Kahn, 441 F.3d 977, 988 (Fed.Cir. 2006).                      “To

facilitate review, this analysis should be made explicit.”                                 KSR

Int'l Co. v. Teleflex Inc., 550 U.S. 398, 127 S.Ct. 1727, 1741, 167

L.Ed.2d 705 (2007) citing Kahn, 441 F.3d at 988.                       In the instant




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case, Defendants rely on mere attorney argument, rather than

evidence, to attempt to show that the prior art could be combined

or modified.

     N.     REPLY TO ARGUMENT THAT THE ‘305 APPLICATION EXAMINER
            INTERVIEW TOOK PLACE BEFORE KSR.

     At page 180 of the 2/11 transcript, Defendants argue that

the Court should discount the following statement by Examiner

Stinson in the prosecution history.

     It was noted by the examiner that WIPO’314 [Hakansson-2] and
     EPO’342 [Hakansson-1] fail to specifically or inherently
     disclose in a parts washer, a fluid that is a
     “biodegradable, non-toxic, non-caustic, nonflammable oil
     dispersant cleaner and degreaser”. WIPO’314 [Hakansson-2] and
     EPO’342 [Hakansson-1] fail to specifically or inherently teach
     the same even though employing water.

[Plaintiff’s Exhibit 22, ‘305 Application Examiner Interview

Summary, quoted by and relied on by Plaintiff’s expert, Dr.

Durkee at Dkt 337, pp. 65-66, 73, 81-82, 122, 124, 155, 225, 226,

227, 228; Dkt 467, pp. 16-17, 39-40, 42-43, 55, 57].

     Defendants argue that the Court should give Examiner

Stinson’s 2005 statement little weight because it predated the

Supreme Court’s 2007 decision in KSR.      This argument has no

merit.    In KSR, the Supreme Court admonished lower courts that

the “TSM” or “teaching, suggestion, or motivation” test should

not be applied in an overly rigid manner.13      The KSR case has


     13
       “Since the TSM test was devised, the Federal Circuit
doubtless has applied it in accord with these principles in many


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absolutely nothing to do with an whether isolated element of an

invention is inherently disclosed in a prior art reference.

      Examiner Stinson’s statement observes that Hakansson-1 and

Hakansson-2 do not expressly or inherently disclose – “in a parts

washer” – a cleaning fluid that is “biodegradable, non-toxic, non-caustic, and

non-flammable.”   KSR did nothing to change the law of inherency.

The Federal Circuit decided Therasense in 2010.14           The Federal

Circuit decided Agilent in 2009.15       Both Therasense and Agilent cite In re

Oelrich, 666 F.2d 578 (CCPA 1981) approvingly as stating the

correct legal standard for inherency.            The legal standard for

inherency has remained constant for the past 30 years.

Defendants’ presentation at trial did not meet that standard.

                      III.    CONCLUDING ARGUMENTS.

      A.    DEFENDANTS’ LACK OF EVIDENCE.

      Perhaps the most remarkable thing about the trial of this

case is the overall paucity of evidence that Defendants

introduced on the issue of obviousness.            Defendants were


cases. There is no necessary inconsistency between the test and
the Graham analysis. But a court errs where, as here, it
transforms general principle into a rigid rule limiting the
obviousness inquiry.” KSR Int’l Co. v. Teleflex, Inc., 127 S.Ct. 1727, 1732
(2007).
      14
       Therasense, Inc. v. Becton, Dickinson and Co., 593 F.3d 1325, 1332
(Fed.Cir. 2010).
      15
       Agilent Technologies, Inc. v. Affymetrix, Inc., 567 F.3d 1366, 1383
(Fed.Cir. 2009).


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repeatedly sanctioned during pre-trial discovery for playing

games with its local rule disclosure obligations.

     In fact, it appears that the reason for the untimely
     amendments was gamesmanship in an effort to gain a tactical
     advantage over Plaintiff.

ChemFree Corp. v. J.Walter, Inc., 250 F.R.D. 570, 573 (N.D.Ga. 2007).   In

view of the numerous evidence exclusion orders attributable to

Defendants’ pre-trial “gamesmanship,” Defendants’ trial

presentation was short on evidence and long on attorney argument.

           1.    Only Two Prior Art References Within The Scope and
                 Content of the Prior Art.

     At the time of the Markman claim construction hearing,

Defendants’ local rule invalidity contentions identified three

references, only one of which (Hakansson-2) pre-dated Plaintiff’s

date of invention.     [Docket 49].16      Defendants later added Athey,

a high temperature, closed cabinet, commercial dishwasher

apparatus patent.

           2.    An Unqualified Expert.

     Defendants engaged an expert witness from the wrong

technical field.

  "QUESTION: DO YOU CONSIDER YOURSELF TO BE AN EXPERT IN THE
     FIELD OF ENVIRONMENTAL SCIENCE?"


     16
       The two references that post-dated ChemFree’s date of
invention were Sims (U.S. Patent No. 5,656,156 filing date of
June 10, 1994) and Minkin (U.S. Patent No. 5,529,080 filing date
of May 13, 1994).


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  "ANSWER: I DO."

  "QUESTION: DO YOU ALSO CONSIDER YOURSELF TO BE AN EXPERT IN THE
     FIELD OF PARTS WASHING?"

  "ANSWER: I DO NOT."

  "QUESTION: DO YOU RECOGNIZE THE FIELD OF PARTS WASHING AND THE
     FIELD OF ENVIRONMENTAL SCIENCES AS TWO SEPARATE FIELDS OF
     SCIENTIFIC ENDEAVOR?"

  "ANSWER: SCIENTIFIC ENDEAVOR? THE TWO ARE SEPARATE. YES, THEY
     ARE TWO SEPARATE FIELDS."

[TR, p. 781:15-25, quoting January 28, 2009 deposition transcript

at p. 339].

     Dr. Adriaens is an environmental engineer with no expertise

in parts washing technology.      Prior to his engagement as an

expert, he had no experience in designing or developing a parts

washer.17    He disclaimed familiarity with fluid temperatures used

in aqueous parts cleaning machines.18      He disclaimed familiarity

with cleaning fluid chemistry used in parts washer fluids.19

Indeed, he had never even taken a plant tour of a facility that

made parts washers.20    Dr. Adriaens never observed a practitioner

in the parts washer industry at or about the time of the

invention in 1994.    He was altogether unfamiliar with the state

of the art in parts washing at time of the invention.


     17
          May 19, 2008 deposition of Dr. Adriaens, pp. 14-20.
     18
          May 19, 2008 deposition of Dr. Adriaens, p. 31.
     19
          May 19, 2008 deposition of Dr. Adriaens, pp. 174:5-181:3
     20
          May 19, 2008 deposition of Dr. Adriaens, p. 27.


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             3.      Defendants’ Obviousness Case Predicated On An
                     Incorrect Person of Ordinary Skill in the Art.

     Dr. Adriaens’ opinions were based on an incorrect person of

ordinary skill.       Dr. Adriaens’ skilled artisan came from the

field of environmental science. [Dkt 313, p. 9].21       In contrast,

the correct person of ordinary skill for purposes of an

obviousness analysis comes from the field of parts washing.22

             4.      An Initial Expert Report Stricken For Failure to
                     Comply With Fed.R.Civ.P. 26(a)(2)(B).

     Dr. Adriaens gave an initial expert report that was so

materially deficient under the standards of Fed.R.Civ.P.

26(a)(2)(B) that the portions of his report on combining and

modifying the prior art were stricken.       Dr. Adriaens was

precluded from testifying at trial on combining or modifying the

prior art.        [Orders, Dkt 414, pp. 15-16; Dkt 464, p. 9].

             5.      An Expert Report That Omitted Defendants’ Primary
                     Invalidity Reference.

     Dr. Adriaens’ initial expert report omitted mention of

Defendants’ primary invalidity reference, Hakansson-2.      Adriaens


     21
       “one with a B.S. degree in Environmental Engineering or
having equivalent work experience in biological water treatment,
and having three years experience equipment in the automotive and
equivalent industries.” [Dkt 313, p.9].
     22
      “the relevant “art” for the purpose of obviousness is the
art of developing and manufacturing parts washers for use in
cleaning parts contaminated with organic waste such as
hydrocarbons, oil, and grease.” [Order, Dkt 619, p. 43].


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did not address Hakansson-2, by name, during trial.             When you sift

through Adriaens’ trial testimony [TR746+], after you get past

his qualifications, voir dire, his erroneous opinion on ordinary

skill in the art, and infringement, his substantive testimony on

obviousness amounts to only a page or two.

           6.    An In Limine Ruling Precluding Extrinsic Evidence on
                 Inherency.

     The key limitation in Plaintiff’s patent claims, the

“biodegradable, non-toxic, non-caustic, non-flammable” cleaning

fluid limitation, is not expressly present in the prior art,

hence Defendants resort to an inherency theory.               However, as a

discovery sanction, Defendants were precluded, in limine, from

presenting extrinsic evidence of inherency at trial.                [Order, Dkt

552, pp. 1-2].     Plaintiff herein repeats and renews its request

that the successor judge strike, as inadmissible, the testimony

that Defendants snuck into the record in an effort to circumvent

the in limine ruling.23   Mintel Int'l Group, Ltd. v. Neergheen, 636 F.Supp.2d

677 (N.D.Ill. 2009)(In a bench trial, a court has leeway to

provisionally admit testimony and to disregard it later if, upon

reflection, it should have been excluded).




     23
       [TR 770:20 - 771:5 (Adriaens non-caustic); TR 771:11-24,
Adriaens non-flammable; TR 454:9-20 (McNally non-caustic)].


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            7.    No Testimony on Scope and Content of the Prior
                  Art, Differences Between the Prior Art and the
                  Claimed Invention, or Whether Multiple References
                  Could Be Combined.

     Neither Dr. Adriaens, nor any other defense witness,

testified concerning the scope and content of the prior art, or

the differences between the prior art and the claimed invention,

or whether multiple references could be combined or modified, or

whether a person of ordinary skill in the parts washing would be

motivated to make a combination or modification, or whether such

a modification would be undertaken with a reasonable expectation

of success.

     Defendants presented no testimony concerning the

capabilities of someone of ordinary skill in the art of parts

washing.    In particular, Defendants presented no testimony or

analysis by which a court could determine the scope of an

ordinary practitioner’s “ordinary creativity” within the meaning

of KSR.    KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 127 S.Ct. 1727, 167

L.Ed.2d 705 (2007).      Moreover, Defendants presented no testimony

or analysis from which a court could make an informed

determination regarding whether the differences between the prior

art and claimed invention presented a “finite number of

identified, predictable solutions” within the meaning of KSR.

KSR, 550 U.S. supra at 402-403.       Nevertheless,




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      the Supreme Court's analysis in KSR presumes that the record
      before the time of invention would supply some reasons for
      narrowing the prior art universe to a “finite number of
      identified, predictable solutions,”

Eisai Co. Ltd. v. Dr Reddy’s Laboratories, Ltd. 533 F.3d 1353, 1359 (Fed.Cir.

2008).     Moreover, this finite number of predictable solutions

must present the person of ordinary skill with options that are

“small” and “easily traversed.” Ortho-McNeil Pharma, Inc. v. Mylan Labs,

Inc., 520 F.3d 1358, 1364 (Fed.Cir. 2008).

      B.     JUDGE CAMP SUA SPONTE FILLED THE VACUUM LEFT BY
             DEFENDANTS’ LACK OF EVIDENCE.

      It was into this evidentiary vacuum that Judge Camp ventured

to conduct his obviousness analysis.           In the absence of any

evidence as to the capabilities of someone of ordinary skill in

the art of parts washing, Judge Camp necessarily filled the

evidentiary vacuum with his own personal impression of what

seemed obvious to him.       However, obviousness must be determined

by reference to a person of ordinary skill in the art as opposed

to what may seem obvious to a judge. Custom Accessories, Inc. v. Jeffrey-Allan

Industries, Inc., 807 F.2d 955 (Fed.Cir. 1986).       Regardless of what

may have seemed obvious to Judge Camp, from his own personal

perspective after deciding the enablement issue, there is no

evidentiary foundation to support a legal conclusion that the

Plaintiff’s patented invention, as a whole, would have been




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obvious to someone of ordinary skill in the art of parts washing

at the time the invention was made.         35 U.S.C. § 103.

            1.   Error in Misconstruing and Misapplying the Meaning
                 of “Non-Caustic.”

     Judge Camp erred in applying the term “non-caustic” to

microbes, when the stipulated construction of “organic tissue,

such as the skin of the operator” can only reasonably be applied

to complex biological structures, not single celled microbes.

Judge Camp overlooked key events in the prosecution history and

reached a conclusion that was diametrically opposed to a finding

by the examiner.

        Examiner Stinson
   ‘305 Application Interview                     Judge Camp
     Plaintiff’s Exhibit 22                  June 18, 2010 Order
It was noted by the examiner          A person of ordinary skill in
that WIPO’314 [Hakansson-2] and       the art would have realized that
EPO’342 [Hakansson-1] fail to         the use of a biodegradable, non-
specifically or inherently            toxic, non-caustic, nonflammable
disclose in a parts washer, a         oil dispersant cleaner and
fluid that is a “biodegradable,       degreaser fluid was necessary
non-toxic, non-caustic,               for the device to function.
nonflammable oil dispersant           Therefore, all of these
cleaner and degreaser”.               limitations were inherently
                                      disclosed in Hakansson-2.
The foregoing two statements cannot be reconciled.           One of them

is wrong.    When an attacker simply goes over the same ground

travelled by the PTO, part of the attacker’s burden is to show

that the PTO was wrong in the decision to grant the patent.

PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1304 (Fed.Cir.

2008).   Defendants failed to meet that burden.



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             2.      Error in Finding That Hakansson-2 Would Not Be
                     Operable Unless Its Fluid Was Necessarily
                     Biodegradable, Non-Toxic, Non-Caustic and Non-
                     Flammable.

     Judge Camp overlooked key events in the prosecution history

to reach an erroneous conclusion that Hakansson-2’s fluid

necessarily was biodegradable, non-toxic, non-caustic and non-

flammable.        The cleaning fluid limitation was added by an

Examiner’s Amendment that narrowed Plaintiff’s pending claims to

render them patentable over Hakansson-1 (and, therefore, also

Hakansson-2). [Joint Exhibit 10, pp. J1690-96; Joint Exhibit 7, p.

J854].

             3.      Error in Finding That Purportedly Inherent
                     Properties Would Have Been Obvious To Someone of
                     Ordinary Skill.

     An inherent feature may be relied upon to establish

obviousness only if the inherency would have been obvious to one

of ordinary skill in the art. Donald S. Chisum, CHISUM ON

PATENTS, § 5.03[3][a][I][A], Matthew Bender © 2006.         Once “non-

caustic” is properly construed and applied to the organic tissue

of the operator (instead of microbes), there is no evidence to

support a conclusion that it would have been obvious to one of

ordinary skill in the art that Hakansson-2’s fluid is inherently

non-caustic.       Furthermore, there is no evidence to support a

conclusion that that it would have been obvious to one of




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ordinary skill in the art that Hakansson-2’s fluid is inherently

non-toxic to users (‘110 and ‘835 Patent claims).

     Defendants introduced no evidence that such alleged

inherency would have been recognized as obvious by an ordinary

practitioner.    Examiner Stinson’s above quoted statement in the

‘305 Application Examiner Interview Summary [Plaintiff’s Exhibit

22] makes it impossible for Defendants to carry a burden of proof

of clear and convincing evidence that alleged “inherent”

properties of Hakansson-2 would have been obvious to someone of

ordinary skill.

            4.    Error in Relying on Inadmissible Evidence That Was
                  Excluded By In Limine Ruling.

     Judge Camp erred in deciding the case based on inadmissible

evidence that the “non-caustic” limitation (as improperly

construed) was inherently present in Hakansson-2.      Dr. Adriaens’

testimony on inherent non-caustic and non-flammable properties

was precluded by the pre-trial in limine ruling.     [Order, Dkt 552,

pp. 102].

            5.    Error in Relying on Unspecified Prior Art Not
                  Timely Disclosed in Defendants’ Local Rule
                  Invalidity Contentions.

     Judge Camp erred in augmenting Defendants’ invalidity

references with “general knowledge of a person of ordinary skill

in the art.” [Dkt 619, p. 51].      Such reliance on “general

knowledge” effectively vitiated the Court’s pre-trial evidence


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exclusion orders that had been entered as a discovery sanction.

[Orders at Dkt 274, 414, 464, 552, 574].

     Judge Camp erred in augmenting Defendants’ invalidity

references with knowledge of an unspecified “existing fluid” that

was imputed to the person of ordinary skill in the art.” [Dkt

619, pp. 46-47].   Expanding the scope and content of the prior

art to unspecified (and previously undisclosed) art also vitiated

the Court’s pre-trial evidence exclusion orders that had been

entered as a discovery sanction.     [Orders at Dkt 274, 414, 464,

552, 574].

     Although Seawash-7 may have “existed” at the time of the

invention.   There is no evidence that it, or any other

biodegradable, non-toxic, non-caustic, non-flammable degreaser

fluid had ever been used in a parts washer, much less a

bioremediating parts washer, before Plaintiff’s date of

invention.   There is no evidence that a practitioner in either

the parts washing art or the environmental sciences art would

have known that such a fluid would have been pH stable and

otherwise operable in Plaintiff’s invention at the time of the

invention.   Judge Camp’s finding and conclusion reflects improper

hindsight analysis borrowed from his enablement analysis.

However, enablement dealt with the sufficiency of the teaching of

Plaintiff’s own patent.    It was improper for Judge Camp to use

Plaintiff’s own patent as a template or blueprint to pick and


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choose isolated elements from the prior art to perform a

hindsight reconstruction of Plaintiff’s patented invention.

           6.    Error in Finding Motivation to Combine or Modify
                 The Prior Art.

     Judge Camp erred in relying on the Montreal Protocol as

sufficient motivation to modify the prior art to achieve the

patented invention.     Recognition of a need does not render

obvious the achievement that meets that need.           Abbott Laboratories v.

Sandoz, Inc., 544 F.3d 1341, 1348 (Fed.Cir. 2008).        The knowledge of

a problem and motivation to solve it are entirely different from

a motivation to combine particular references to reach the

particular claimed invention. Innogenetics, N.V. v. Abbott Labs, 512 F.3d

1363, 1373 (Fed.Cir. 2008).

           7.    Error in Finding a Reasonable Expectation of
                 Success.

     An obviousness determination requires not only a reason to

combine elements from different prior art references, but also

that a skilled artisan would have perceived a reasonable

expectation of success in making the invention via that

combination.    Medichem, S.A., v. Rolabo, S.L., 437 F.3d 1157, 1165

(Fed.Cir. 2006).     Defendants’ own expert, Dr. Adriaens,

acknowledged that:

     the selection and testing of candidate surfactants and
     microorganisms is beyond the level of skill of the person of
     ordinary skill in the art.



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[Expert Report of Peter Adriaens, PhD, Docket 465, p. 31].                    Given

the acknowledged unpredictability in the art, Judge Camp erred in

finding that the prior art could be modified to achieve the

patented invention with a reasonable expectation of success.

Such finding is not supported by sufficient evidence.

           8.    Error in Weighing and Applying Secondary
                 Considerations of Non-Obviousness.

     Judge Camp’s finding that the Overland ‘147 patent is a

‘contemporaneous invention’ that serves as a secondary

consideration of obviousness is contrary to applicable law.

Overland, which post-dates Plaintiff by almost three years, is not

“contemporaneous” as a matter of law.          Hybritech Inc. v. Monoclonal

Antibodies, Inc., 802 F.2d 1367, 1380, n.4 (Fed.Cir. 1986).

     Judge Camp failed to give proper consideration and weight to

Plaintiff’s evidence of secondary considerations of unexpected

results and laudatory statements.         Such evidence, when combined

with the recognized evidence of copying and industry awards and

accolades is strong evidence of non-obviousness.

     Evidence of “secondary considerations” must always, when

present, be considered en route to a determination of

obviousness.    Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538

(Fed.Cir. 1983).     Such evidence is often the most probative and

determinative of the ultimate conclusion of non-obviousness. Pro-




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Mold and Tool Co., Inc. v. Great Lakes Plastics, Inc., 75 F.3d 1568, 1573

(Fed.Cir. 1996).

        C.      THE COURT NEEDS TO REVERSE JUDGE CAMP’S OBVIOUSNESS
                RULING TO PREVENT MANIFEST INJUSTICE.

        On appeal from a bench trial, the ultimate determination of

whether an invention would have been obvious under 35 U.S.C. §

103 is a legal conclusion that the Federal Circuit reviews de

novo.        Eli Lilly and Co. v. Teva Pharmaceuticals USA, Inc., 619 F.3d 1329, 1336

(Fed.Cir. 2010).           An obviousness determination is based on

underlying factual inquiries that are reviewed on appeal for

clear error. Id.          Plaintiff submits that Judge Camp committed

clear error on numerous findings of fact that affected the

ultimate legal conclusion of obviousness.                   Once the successor

judge corrects the erroneous fact findings, the overall legal

conclusion of obviousness needs to be reconsidered.

        An issued patent enjoys a presumption of validity. Impax

Laboratories, Inc. v. Aventis Pharmaceuticals Inc., 545 F.3d 1312, 1314

(Fed.Cir. 2008).           An accused infringer must prove invalidity by

clear and convincing evidence.              Robotic Vision Sys., Inc. v. View Eng’g, Inc.,

189 F.3d 1370, 1377 (Fed.Cir. 1999).                That burden never shifts to

the patentee.          Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1359 (Fed.Cir.

2007).        The burden is enhanced when the asserted prior art was




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before the PTO during prosecution.          Tokai Corp. v. Easton Enterprises Inc.,

-- F.3d --, 2011 WL 308370, *6 (Fed.Cir. January 31, 2011).

     Under the obviousness statute, a patent claim is invalid “if

the differences between the subject matter sought to be patented

and the prior art are such that the subject matter as a whole

would have been obvious at the time the invention was made to a

person having ordinary skill in the art.” 35 U.S.C. § 103.                    In

order to render an invention obvious, the cited prior art as a

whole must enable one skilled in the art to make and use the

invention. Beckman Instruments, Inc. v. LKB Produkter AB, 892 F.2d 1547, 1551

(Fed.Cir. 1989).     For purposes of Section 103 obviousness, prior

art references must place the claimed invention in the possession

of the public. In re Brown, 329 F.2d 1006, 1011 (CCPA 1964).                An

invention cannot be possessed by the public absent some known or

obvious way to make it. In re Hoeksema, 399 F.2d 269, 274 (CCPA

1968).   Hakansson-2 and Athey, alone or in combination, do not

supply a sufficient enabling disclosure to teach someone of

ordinary skill in the parts washing art how to make and use

Plaintiff’s invention, in general, and how to make a use a parts

washer with a biodegradable, non-toxic, non-caustic, non-

flammable degreaser fluid, in particular.

     Judge Camp’s ruling invalidating all 21 of Plaintiff’s

asserted patent claims has worked manifest injustice on the



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Plaintiff.   Judge Camp’s order does not analyze Plaintiff’s 21

claims on an element-by-element, claim-by-claim, basis.          His

order fails to account for differences between and among the

claims, such as the fact that “non-toxic” in the ‘110 and ‘835

Patents is not limited “to the microorganisms” as it is in the

claims of the ‘125 Patent.     Defendants introduced no evidence

that Hakansson-2’s fluid is inherently non-toxic to users.

     Plaintiff is a small, start-up company with a single product

line that is protected by the patents-in-suit.        Judge Camp’s

blanket ruling invalidating all of Plaintiff’s claims

effectively deprived Plaintiff of its most commercially

significant patent protection.      By construing and applying “non-

caustic” to the microbes instead of the operator, Judge Camp

effectively deprived Plaintiff’s invention of a significant

advantage over the prior art.      Specifically, it deprived

Plaintiff’s claims of the benefit of the Examiner’s Amendment

that distinguished Plaintiff’s invention over the prior art,

including Hakansson-1.

     The successor judge has plenary authority to alter, amend,

and reverse Judge Camp’s ruling to correct clear error and

prevent manifest injustice.     The Court should alter or amend

Judge Camp’s findings of fact and conclusions and, in so doing,

should VACATE and REVERSE Judge Camp’s legal conclusion of




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obviousness.   This case should proceed to discovery and a jury

trial on damages.

     Respectfully submitted, this 24th day of February, 2011.

                                    DUANE MORRIS LLP

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                       CERTIFICATE OF SERVICE

     I hereby certify that on February 24, 2011, a copy of

PLAINTIFF’S POST-HEARING BRIEF IN SUPPORT OF ITS POST-TRIAL

MOTIONS TO ALTER OR AMEND FINDINGS OF FACT AND CONCLUSIONS OF LAW

was presented to the Clerk of the Court for filing and uploading

to the CM/ECF system which will send e-mail notification to all

counsel of record.




                                /s/   j|ÄÄ|tÅ TA VtÑÑ
                           William A. Capp




            In accordance with Local Rule 7.1D,
            counsel for Plaintiff certifies that
            the foregoing has been prepared using
            the font Courier New 12 point.




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                    EXHIBIT “A”




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                     ATTACHMENT




        Tokai Corp. v. Easton Enterprises, Inc.,
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                                                     motion for summary judgment of invalidity for
Only the Westlaw citation is currently available.    obviousness of U.S. Patents 5,697,775 (the
                                                     "'775 patent"); 5,897,308 (the "'308 patent");
         United States Court of Appeals,             and 6,093,017 (the "'017 patent"). Tokai Corp.
                 Federal Circuit.                    v. Easton Enters. Inc., No. 5:07-cv-00883
TOKAI CORP., Scripto-Tokai, Inc., and Calico         (C.D.Cal. Oct. 27, 2009) ("SJ Order"). Easton
                  Brands, Inc.,                      Enterprises, Inc. (d.b.a. Easton Sales) and Fun
Plaintiffs/Counterclaim Defendants-Appellants,       Line Industries, Inc. (collectively, "Easton")
                        v.                           cross-appeal from the court's claim construc-
 EASTON ENTERPRISES, INC., a California              tion order, Tokai Corp. v. Easton Enters. Inc.,
    Corporation (doing Business as Easton            No. EDCV 07-883-VAP, 2009 WL 1582924
Sales) and FLI, Inc., Defendants-Cross Appel-        (C.D. Cal. June 2, 2009), and the court's order
                      lants,                         granting Tokai's motion to strike Easton's sup-
                       and                           plemental invalidity contentions, Tokai Corp. v.
  Fun Line Industries, Inc. and Easton Enter-        Easton Enters. Inc., EDCV 07-00883-VAP,
      prises, Inc., a Nevada Corporation,            2009 WL 2047845 (CD.Cal. July 8, 2009). Be-
          Counterclaimants-Appellees.                cause the district court correctly granted sum-
          Nos. 2010-1057, 2010-1116.                 mary judgment of invalidity, we affirm. As a
                                                     result, we need not decide Easton's cross-ap-
                 Jan. 31, 2011.
                                                     peal.
Appeals from the United States District Court
                                                                       BACKGROUND
for the Central District of California, No.
                                                     Tokai owns the asserted patents, which relate
07-CV-0883, Virginia A. Phillips, Judge.
                                                     to safety utility lighters having extended light-
R. Joseph Trojan, Trojan Law Offices, of             ing rods (useful for lighting barbecue grills, for
Beverly Hills, CA, argued for plaintiffs/            example). The asserted patents share a prior-
counterclaim defendants-appellants. Of coun-         ity date of August 15, 1995. [FN1] The claims
sel was Dylan C. Dang.                               of the asserted patents are directed to utility
                                                     lighters with automatic child-safety mechan-
Konrad L. Trope, Chan Law Group LLP, of Los          isms for preventing accidental ignition. Tokai
Angeles, CA, argued for defendants-cross ap-         competes with Easton in the market for safety
pellants and counterclaimants-appellees. On          utility lighters. Tokai asserts that it has sold
the brief were Thomas T. Chan and Rex                more than 100 million safety utility lighters in
Hwang.                                               the United States under one or more of its as-
                                                     serted patents. SJ Order, slip op. at 37. Tokai
Before NEWMAN, LOURIE, and BRYSON, Cir-              also contends that Easton has sold more than
cuit Judges.                                         nine million such lighters.

LOURIE, Circuit Judge.                                       FN1. The '775 patent was filed on Au-
                                                             gust 15, 1995. The '308 patent is a
*1 Tokai Corp., Scripto-Tokai, Inc., and Calico
                                                             continuation-in-part of the '775 applica-
Brands, Inc., (collectively, "Tokai") appeal from
                                                             tion. The '017 patent is a continuation-
the decision of the United States District Court
                                                             in-part of a division of the '308 patent.
for the Central District of California granting a




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In July 2007, Tokai sued Easton in the District            section, which interferes with a portion of the
Court for the Central District of California for in-       operation member and thereby locks the
fringing the asserted patents. Easton counter-             lighting operation of the operation member,
claimed for invalidity. At issue are claim 1 of            said locking member being capable of mov-
the '775 patent; claims 1, 10, and 13 of the '             ing in a direction, that intersects with the dir-
308 patent; and claims 1, 3, and 4 of the '017             ection along which the operation member
patent.                                                    moves, and
                                                           b) an urging member, which urges said lock-
The parties agree that the asserted claims sub-            ing member to a locking direction,
stantially overlap. Each of the asserted inde-             said locking member being movable to a lock
pendent claims describes a "lighting rod" (i.e.,           releasing position against the urging force of
a utility lighter) having a particular "safety             said urging member,
device." The differences among the asserted                wherein, with the locking member in the lock
claims arise primarily in the safety-device por-           releasing position, the lighting operation is
tion of the claim. Claim 1 of the '775 patent ex-          carried out by operating the operating sec-
emplifies the asserted claims:                             tion of the operation member, and said lock-
   1. A safety device in a lighting rod, which             ing member automatically returns to the state
   lighting rod is provided with a rod-like top            of the locking as the operation member re-
   end portion and a main body, the rod-like top           turns to its original position.
   end portion being provided with a jetting            '775 patent col.24 l.59-col.25 l.28 (emphases
   nozzle for jetting out a gas, the main body          added). As illustrated by the relevant portions
   being provided with:                                 of figures 8A and 8B of the '775 patent, the
   i) a gas tank,                                       claimed utility lighter has a trigger ("operation
   ii) a valve mechanism for opening and clos-          member" 120) and a safety device, which com-
   ing a path, through which the gas is supplied        prises a "locking member" (125) and a spring
   from the gas tank to the jetting nozzle,             ("urging member" 26). To operate the lighter,
   iii) a piezo-electric unit for generating a dis-     the user depresses the locking member
   charge voltage for lighting the gas, and             against the force of the spring and pulls the
   iv) an operation member, which is capable of         trigger. When the user releases the locking
   sliding, which has an operating section, and         member, the spring automatically returns the
   which drives the valve mechanism and the             locking member to its initial position, where the
   piezoelectric unit in order to carry out a light-    trigger is blocked from inadvertent actuation.
   ing operation, the operating section of the
   operating member being exposed to the ex-
   terior of the main body,
   *2 the safety device comprising:
   a) a locking member having an engagement




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In June 2009, the district court issued a claim         clarations. The court thus declined to consider
construction order, after which Easton stipu-           either declaration in resolving the parties' sum-
lated that its accused utility lighters infringe all    mary judgment motions.
but one of the asserted claims as construed by
the court. [FN2] SJ Order, slip op. at 3.               On the issue of invalidity, the district court de-
                                                        termined that there existed no genuine issue of
        FN2. Easton did not stipulate to in-            material fact as to the obviousness of the as-
        fringement of claim 4 of the '017 pat-          serted claims over the four prior art references
        ent.                                            asserted by Easton: U.S. Patents 5,326,256
                                                        ("Shike"); 5,199,865 ("Liang"); 5,090,893
In September 2009, Tokai moved for summary              ("Floriot"); and 4,832,596 ("Morris"). In doing
judgment on Easton's counterclaim of invalidity         so, the court applied the four-factor analysis for
for obviousness, and Easton filed a cross-mo-           obviousness under 35 U.S.C. § 103, as set
tion for summary judgment for obviousness of            forth in Graham v. John Deere Co., 383 U.S. 1,
the asserted patents over four prior art refer-         17-18 (1966). First, the court found no genuine
ences. In opposition to Easton's motion, Tokai          issue of material fact regarding the scope and
submitted expert declarations from Dr. Jones            content of the asserted prior art references. SJ
(the "Jones declaration") and Mr. Sung (the             Order, slip op. at 18-22. Secondly, the court
"Sung declaration"). Easton objected to the de-         found no material dispute regarding the differ-
clarations, and the district court sustained Ea-        ences between the prior art and the claimed in-
ston's objection. SJ Order, slip op. at 6-7. The        vention. Id. at 23-33. The court found that, with
district court noted that Tokai failed to submit        the exception of a single aspect of claims 10
written reports from Jones and Sung during ex-          and 13 of the '308 patent (discussed further in-
pert discovery and that, as a result, Easton            fra ), each element of the asserted claims was
was denied an opportunity to depose these wit-          disclosed in the asserted prior art. Id. at 23.
nesses on the subject matter of their expert de-




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Third, with regard to the level of skill in the art,    tion, Tokai argues that the court failed to find
the district court noted that the parties dis-          that Sung was exempt from the written report
agreed sharply. The court determined,                   requirement of Federal Rule of Civil Procedure
however, that the dispute was immaterial, as            26(a)(2)(B). Specifically, Tokai asserts on ap-
the court's conclusion on obviousness was the           peal that Rule 26(a)(2)(B) permits Sung, as an
same under either party's asserted level of             employee of Tokai, to offer an expert declara-
skill. Id. at 36. Finally, the court evaluated          tion without an accompanying written report.
Tokai's alleged objective indicia of nonobvious-        Tokai further argues that its failure to submit
ness. Tokai asserted that its commercial suc-           written expert reports for both Jones and Sung
cess supported patentability, but the court             should be excused under Rule 37(c)(1), be-
found no nexus between the sales data and               cause Tokai was justified in not providing writ-
the merits of the invention beyond what was             ten reports to rebut Easton's expert testimony.
available in the prior art. Id. at 38-39. The court
also found unpersuasive Tokai's asserted evid-          In response, Easton argues that the district
ence that Easton copied the claimed inven-              court did not abuse its discretion by excluding
tions. Id. at 40. Based on its analysis of the          the Jones and Sung declarations for failure to
Graham factors, the district court concluded            comply with the written report requirement of
that the asserted claims would have been obvi-          Rule 26(a)(2)(B). With respect to the Sung de-
ous to one of ordinary skill in the art as of the       claration, Easton argues that its exclusion was
priority date of the asserted patents and               not an abuse of discretion, because there is no
entered final judgment on October 23, 2009.             evidence in the record that Sung was an em-
                                                        ployee of Tokai. Easton also argues that the
*3 Tokai timely appealed from the district              district court properly excluded the declarations
court's exclusion of its expert declarations and        under Rule 37(c)(1) because Tokai was not
from the district court's grant of summary judg-        justified in failing to submit the written reports
ment of invalidity of the asserted claims. We           and because Easton was prejudiced by its in-
have jurisdiction pursuant to 28 U.S.C. §               ability to depose Jones and Sung on the sub-
1295(a)(1).                                             ject matter of their declarations. Finally, Easton
                                                        argues that the two declarations are wholly
                 DISCUSSION                             conclusory, and therefore their exclusion, even
A. The District Court Did Not Abuse Its Discre-         if an abuse of discretion, was harmless.
tion by Excluding the Expert Evidence
                                                        Under Rule 26(a)(2)(B), the disclosure of ex-
We review a district court's decision to exclude        pert testimony must be accompanied by a writ-
evidence under the law of the regional circuit.         ten report prepared and signed by the expert
Del. Valley Floral Grp., Inc. v. Shaw Rose              witness "if the witness is one retained or spe-
Nets, LLC, 597 F.3d 1374, 1379 (Fed.Cir.2010)           cially employed to provide expert testimony in
. The Ninth Circuit, the pertinent regional circuit     the case or one whose duties as the party's
in this case, reviews a district court's decision       employee regularly involve giving expert testi-
to exclude evidence on summary judgment for             mony." Thus, Rule 26(a)(2)(B) contemplates
abuse of discretion. Wong v. Regents of Univ.           an employee-expert exception to the written re-
of Cat., 410 F.3d 1052, 1060 (9th Cir.2005).            port requirement for "individuals who are em-
                                                        ployed by a party and whose duties do not reg-
Tokai argues that the district court abused its
                                                        ularly involve giving expert testimony." Torres
discretion by excluding the Jones and Sung
                                                        v. City of Los Angeles, 548 F.3d 1197, 1214
declarations. With regard to the Sung declara-




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(9th Cir.2008).                                       Tokai does not argue that it lacked the time or
                                                      ability to prepare and submit the required writ-
Rule 37(c)(1) "gives teeth" to the written report     ten reports. Before the close of expert discov-
requirement of Rule 26(a)(2)(B) by forbidding a       ery, Tokai acknowledged that it was "fully pre-
party's use of improperly disclosed information       pared ... to confront the challenges to its pat-
at a trial, at a hearing, or on a motion, unless      ents presented by Easton's Preliminary In-
the party's failure to disclose is substantially      validity Contentions," which included all four
justified or harmless. Yeti By Molly Ltd. v.          asserted prior art references. Pl.'s Reply to
Deckers Outdoor Corp., 259 F.3d 1101, 1106            Def.'s Opp. to Mot. to Strike Def.'s Supple-
(9th Cir.2001). In reviewing the district court's     mental Invalidity Contentions and to Exclude
decision to exclude the declarations, we are          Prior Art References Thereto at 11, Tokai
mindful to give "particularly wide latitude to the    Corp.      v.    Easton     Enters.,     Inc.,  No.
district court's discretion to issue sanctions un-    5:07-cv-00883 (C.D. Cal. June 29, 2009), Doc.
der Rule 37(c)(1)." Id. ("Courts have upheld the      No. 64. Yet Tokai made a tactical decision not
use of the sanction even when a litigant's en-        to submit written reports from its experts. J.A.
tire cause of action or defense has been pre-         2255-56. Tokai contends that there was no
cluded.").                                            reason to submit the written reports, because
                                                      the invalidity portions of Easton's expert report
*4 With respect to Rule 26(a)(2)(B), Tokai
                                                      were "effectively gutted" by the court's exclu-
failed to introduce evidence indicating that
                                                      sion of particular prior art references on which
Sung qualified for the employee-expert excep-
                                                      Easton's expert relied. Appellants' Opening Br.
tion. Tokai alleges that during the summary
                                                      at 22. This assertion has no merit, however, as
judgment hearing it informed the district court
                                                      Easton relied on its expert report at summary
of Sung's status as a Tokai employee. The re-
                                                      judgment only to establish the appropriate level
cord indicates otherwise. Tokai's counsel
                                                      of skill in the art. SJ Order, slip op. at 6-7.
stated only that Sung "has personal knowledge
of the[ ] patents-in-suit because he has dealt        The written report requirement of Rule
with them," and that he "was not obligated to         26(a)(2)(A) provided reason enough for Tokai
provide an expert report because he was one           to submit the written reports, given that Tokai
of ordinary skill in the art." J.A. 2255-56. These    proffers no justification apart from its own sub-
statements fail to assert, let alone prove, that      jective beliefs. We have previously cautioned
Sung was a Tokai employee entitled to exemp-          litigants of the "pitfalls of playing fast and loose
tion from the written report requirement of Rule      with rules of discovery":
26(a)(2)(B). Moreover, even if Sung were a                Conclusory expert reports, eleventh hour dis-
Tokai employee, Tokai failed to introduce evid-           closures, and attempts to proffer expert testi-
ence indicating that his duties did not "regularly        mony without compliance with Rule 26 viol-
involve giving expert testimony." Rule                    ate both the rules and principles of discov-
26(a)(2)(B). Thus, the district court did not ab-         ery, and the obligations lawyers have to the
use its discretion by declining to exempt Sung            court. Exclusion and forfeiture are appropri-
from the written report requirement of Rule               ate consequences to avoid repeated occur-
26(a)(2)(B).                                              rences of such manipulation of the litigation
                                                          process.
Regarding Rule 37(c)(1), we agree with the
                                                      *5 Innogenetics, N.V. v. Abbott Labs., 512 F.3d
district court that Tokai's failure to adhere to
                                                      1363, 1376 n.4 (Fed.Cir.2008). In addition,
the requirements of Rule 26(a)(2)(B) was
                                                      Tokai's failure to submit the required written re-
neither harmless nor substantially justified.




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ports prejudiced Easton by preventing Easton          (Fed.Cir.1984); Chore-Time Equip., Inc. v.
from deposing Jones and Sung on the subject           Cumberland Corp., 713 F.2d 774, 778-79
matter of their expert testimony. We thus hold        (Fed.Cir.1983). Whether an invention would
that the district court did not abuse its discre-     have been obvious at the time it was made is a
tion by excluding the Jones and Sung declara-         question of law, which we review de novo,
tions.                                                based on underlying facts, which we review for
                                                      clear error. Media Techs. Licensing, LLC v.
Furthermore, even assuming the district court         Upper Deck Co., 596 F.3d 1334, 1337
abused its discretion by excluding the Sung           (Fed.Cir.2010), cert. denied 79 U.S .L.W. 3201
declaration, the error was harmless, as the de-       (Oct. 4, 2010). When the facts underlying an
claration is conclusory and does not raise a          obviousness determination are not in dispute,
genuine issue of material fact. See, e.g., Lock-      we review whether summary judgment of in-
wood v. Am. Airlines, Inc., 107 F.3d 1565,            validity is correct by applying the law to the un-
1571 (Fed.Cir.1997) (affirming summary judg-          disputed facts. Id.; Karsten Mfg. Co. v. Cleve-
ment of obviousness because statements of             land Golf Co., 242 F.3d 1376, 1384-85
patentee's expert were conclusory and thus            (Fed.Cir.2001).
failed to raise a genuine issue of material fact).
                                                      Tokai first argues that the court failed to im-
B. The District Court Did Not Err by Invalidating     pose on Easton an enhanced burden to rebut
the Asserted Claims                                   the presumption of validity of the asserted
                                                      claims, because some of the asserted prior art
We review de novo a district court's grant of
                                                      references were considered during prosecution
summary judgment, drawing all reasonable in-
                                                      of the asserted patents. Tokai then asserts
ferences in favor of the nonmovant. King
                                                      that genuine issues of material fact remained
Pharms., Inc. v. Eon Labs, Inc., 616 F.3d 1267,
                                                      regarding the scope and content of the asser-
1273 (Fed.Cir.2010) (citing Anderson v. Liberty
                                                      ted prior art and the differences between the
Lobby, Inc., 477 U.S. 242, 255 (1986)). A
                                                      asserted claims and the prior art. Tokai further
claimed invention is unpatentable if the differ-
                                                      contends that the district court erroneously
ences between it and the prior art are such that
                                                      failed to credit Tokai's asserted evidence of
the subject matter as a whole would have been
                                                      nonobvious-ness, including commercial suc-
obvious at the time the invention was made to
                                                      cess and copying. Finally, Tokai argues that
a person having ordinary skill in the pertinent
                                                      the district court's legal conclusion of obvious-
art. 35 U.S.C. § 103(a) (2006); Graham, 383
                                                      ness was flawed, because there was no motiv-
U.S. at 13-14.
                                                      ation to combine the asserted prior art refer-
"Summary judgment is as available in patent           ences and, in any event, combining the prior
cases as in other areas of litigation." Cont'l        art references to make the claimed inventions
Can Co. USA, Inc. v. Monsanto Co., 948 F.2d           would have required substantial modification of
1264, 1265 (Fed.Cir.1991). Moreover, "a dis-          the prior art.
trict court can properly grant, as a matter of
                                                      *6 In response, Easton argues that the court
law, a motion for summary judgment on patent
                                                      correctly determined that there is no require-
invalidity when the factual inquiries into obvi-
                                                      ment on the facts of this case for an enhanced
ousness present no genuine issue of material
                                                      burden to overcome the presumption of valid-
facts." Ryko Mfg. Co. v. Nu-Star, Inc., 950 F.2d
                                                      ity. Easton contends that there is no genuine
714, 716 (Fed.Cir.1991); accord Union Carbide
                                                      factual dispute as to the scope and content of
Corp. v. Am. Can Co., 724 F.2d 1567, 1571




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the prior art, and that there are no unpredict-      ity of each of the asserted claims, was not con-
able differences between the asserted claims         sidered by the PTO during examination of any
and the prior art. Easton further asserts that       of the asserted patents. In addition, as noted
the district court correctly determined that the     by the district court, the PTO did not consider
alleged objective indicia did not overcome the       certain of the other asserted prior art refer-
showing of obviousness. As a result, Easton          ences with respect to each of the asserted pat-
argues, the court correctly granted summary          ents. Id. at 10-11. Accordingly, we agree with
judgment of obviousness on the asserted              the district court that an added burden is not
claims.                                              required here.

We agree with the district court that Easton did     We turn next to the factual inquiries that form
not have an enhanced burden of overcoming            the background of any obviousness analysis
the statutory presumption of validity. Under 35      under 35 U.S.C. § 103. Graham, 383 U.S. at
U.S.C. § 282, each claim of a patent shall be        17-18. With regard to the first Graham factor,
presumed valid; an accused infringer must            the scope and content of the prior art, the dis-
prove invalidity by clear and convincing evid-       trict court correctly found no genuine issue of
ence. Metabolite Labs., Inc. v. Lab. Corp. of        material fact. The parties do not dispute that
Am. Holdings, 370 F.3d 1354, 1365                    utility lighters without a safety device, as exem-
(Fed.Cir.2004). Easton is correct in noting that,    plified by Shike, were available as of the prior-
although the standard of proof does not depart       ity date. SJ Order, slip op. at 19. Regarding Li-
from that of clear and convincing evidence, a        ang, the parties agree that this reference dis-
party challenging validity shoulders an en-          closes a utility lighter with a safety device, in
hanced burden if the invalidity argument relies      which the safety device must be manually re-
on the same prior art considered during exam-        set to the locking position after each use. Id. at
ination by the U.S. Patent and Trademark Of-         19-20. The parties also agree that Floriot dis-
fice ("PTO"). For example, we have stated that,      closes a cigarette lighter with a safety device
" '[w]hen no prior art other than that which was     that automatically resets after each use. Fur-
considered by the PTO examiner is relied on          ther, as the district court found, the parties do
by the attacker, he has the added burden of          not materially dispute that the safety device in
overcoming the deference that is due to a qual-      Floriot comprises a blocking member that pre-
ified government agency presumed to have             vents ignition while in the locked position, a re-
properly done its job.' " PowerOasis, Inc. v. T-     turn spring that applies constant pressure on
Mobile USA, Inc., 522 F.3d 1299, 1304                the blocking member to return it to its locked
(Fed.Cir.2008) (quoting Am. Hoist & Derrick          position, and a safety mechanism that resets
Co. v. Sowa & Sons, 725 F.2d 1350, 1359              only after the user ignites the lighter. Id. at
(Fed.Cir.1984)). An added burden of deference        21-22. Finally, with respect to Morris, the court
to the PTO is not required, however, with re-        correctly perceived no genuine dispute that
spect to invalidity arguments based on evid-         Morris teaches a cigarette lighter with a safety
ence that the PTO did not consider. Am. Hoist        device mounted on the side of the lighter; that
& Derrick Co., 725 F.2d at 1360. Here, as the        the lighter is operated via sequential action of
district court found and as Tokai itself acknow-     the user's finger and thumb, first to disengage
ledges, not all of the asserted prior art was        the safety device, then to ignite the lighter; and
considered by the PTO. SJ Order, slip op. at         that the safety device automatically resets to
12-13. For example, Floriot, a key reference         the locking position after each use. Id. at 22.
forming part of Easton's challenge to the valid-




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*7 With regard to the second Graham factor,             Floriot discloses a locking element and that
the differences between the asserted claims             Morris discloses an unlocking element as re-
and the prior art, we again discern no error in         cited in claim 10 of the '308 patent. Id. at 30.
the district court's analysis of the parties' con-      As the district court correctly found, the only
tentions. Regarding each of the asserted                difference between claim 10 and the asserted
claims, the court found no dispute that utility         prior art is the intended position of the hand
lighters, including utility lighters with safety        while operating the lighter: in claim 10, the
devices, were known in the prior art, as Shike          thumb engages the unlocking element and a
and Liang demonstrate. Id. at 23. With respect          finger engages the operation member; in Mor-
to claim 1 of the '775 patent, the court cor-           ris, the intended positions of the finger and
rectly found no material dispute that Floriot           thumb are reversed. Id. Claim 13, which de-
teaches each of the four essential components           pends from claim 10, adds an "urging means"
of the claimed safety device: a locking member          limitation, which, as the court discussed in con-
that locks the lighter by hindering the move-           nection with claim 1 of the '775 patent and
ment of the operation member; an urging mem-            claim 1 of the '308 patent, Floriot discloses. Id.
ber that pushes the locking member into the             at 30-31.
locking position; the ability to operate the light-
er by pushing the locking member against the            Claim 1 of the '017 patent claims a utility light-
urging force; and the automatic return of the           er with a safety device comprising a "locking
locking member to the locking position after            means," which is rotatable between a locking
use. Id. at 24-27.                                      position and a lock-release position, and an "ur-
                                                        ging means," which urges the locking means
Regarding claim 1 of the '308 patent, we agree          toward the locking position. Tokai does not dis-
with the district court that this claim is "substan-    pute on appeal the district court's holding that
tially identical to Claim 1 of the '775 Patent,"        "locking means" corresponds to "[t]he combin-
but for the additional limitation of an "unlocking      ation of the locking member and the portion of
member," which moves the locking member                 the lighter case on which the locking member
against the urging force of the urging member           is mounted." Tokai Corp., 2009 WL 1582924,
and is located opposite the operation member.           at *7. We agree with the district court that Flori-
Id. at 27. Moreover, the district court found that      ot discloses a rotatable locking means as
Easton demonstrated, and Tokai did not refute,          claimed, and that Floriot further discloses an
that Morris teaches a lighter with such an un-          urging means, as the court discussed in con-
locking member. Id. at 28. The district court did       nection with the '775 and '308 patents. SJ Or-
not err by finding no material factual dispute          der, slip op. at 31-32.
that Shike, Floriot, and Morris together disclose
each element of claim 1 of the '308 patent.             *8 Claims 3 and 4 of the '017 patent are de-
                                                        pendent upon claim 1. Claim 3 adds the re-
Claim 10 of the '308 patent discloses a utility         quirement that the lighting operation can be re-
lighter comprising a safety device with a "lock-        peated so long as the locking member is held
ing element" and an "unlocking element." This           in the lock-releasing position. The district court
claim is broader than claim 1 of the '775 patent        correctly found no dispute that Floriot is cap-
and claim 1 of the '308 patent, in that it re-          able of such repeated lighting. Id. at 32. Claim
quires neither an urging member nor an auto-            4 adds the limitation that the locking means
matic return of the locking element to the lock-        has a "locking section," which prevents the
ing position. The court found no dispute that           lighting operation by engaging with the opera-




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tion member while in the locking position, and          mary judgment.
which permits the lighting operation while in
the lock-release position by disengaging from           With regard to the final Graham factor, second-
the operation member. The district court found,         ary indicia of nonobviousness, the district court
and we agree, that Floriot discloses a blocking         considered Tokai's evidence of commercial
member that meets this "locking section" limit-         success and copying. Id. at 37-40. Regarding
ation. Id. at 33.                                       commercial success, this factor "may have rel-
                                                        evancy" to the overall obviousness determina-
In sum, viewing all facts and reasonable infer-         tion, Graham, 383 U.S. at 18, but a nexus must
ences in the light most favorable to Tokai, we          exist between the commercial success and the
do not discern any error in the district court's        claimed invention. Ormco Corp. v. Align Tech.,
analysis of the second Graham factor, the dif-          Inc., 463 F.3d 1299, 1311-12 (Fed.Cir.2006)
ferences between the prior art and the asser-           ("Evidence of commercial success ... is only
ted claims. The district court correctly found no       significant if there is a nexus between the
dispute that the asserted prior art discloses           claimed invention and the commercial suc-
each element of claim 1 of the '775 patent,             cess."). If commercial success is due to an ele-
claim 1 of the '308 patent, and claims 1, 3, and        ment in the prior art, no nexus exists. Id. at
4 of the '017 patent. The court also correctly          1312; see also Richdel, Inc. v. Sunspool Corp.,
found that the only difference between the as-          714 F.2d 1573, 1580 (Fed.Cir.1983) (holding
serted prior art and claims 10 and 13 of the '          claimed invention obvious where patent holder
308 patent is the intended position of the              "failed to show that such commercial success
thumb and finger for operating the lighter.             ... was due to anything disclosed in the patent
                                                        in suit which was not readily available in the
Although at the district court the parties dis-         prior art").
puted the third Graham factor, the appropriate
level of skill in the art, neither party on appeal      *9 Here, Tokai conceded that utility lighters, in-
contends that the court erred by assuming,              cluding child-safe utility lighters, were available
without deciding, that the level of skill in the art    in the prior art, SJ Order, slip op. at 38, and ac-
was "an individual showing aptitude in high             knowledged that all utility lighters currently sold
school shop class, or someone who builds,               are required to have a safety device. J.A.2045.
takes apart, or repairs basic mechanical toys/          In discussing the marketing and sales of
devices." SJ Order, slip op. at 34. We, too, dis-       Tokai's utility lighters, Tokai's corporate repres-
cern no error in the district court's assumption.       entative not once referred to the automatic
The standard adopted by the district court was          locking feature of Tokai's lighters--i.e., the fea-
the less sophisticated of the two asserted              ture that purportedly distinguishes the claimed
standards. Id. at 36. Since the district court          inventions from prior art utility lighters. The dis-
found that the asserted claims would have               trict court thus held that because Tokai failed
been obvious to a less sophisticated artisan,           to establish a nexus between the automatic
then under the facts of this case the court             safety feature and the alleged commercial suc-
could not have arrived at a different conclusion        cess, Tokai's sales data were not pertinent to
by adopting the viewpoint of one with greater           the court's obviousness determination.
skill and experience. Accordingly, the parties'
disagreement at the district court as to the ap-        We agree with the district court with respect to
propriate level of skill in the art did not create a    the final Graham factor. Tokai proffered no
genuine issue of material fact precluding sum-          evidence from which one could reasonably in-
                                                        fer a nexus between its sales data and its util-




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ity lighters' automatic-locking features. SJ Or-     From the foundation established by the afore-
der, slip op. at 38-39; see also Cable Elec.         mentioned factual inquiries, we must determine
Prods., Inc. v. Genmark, Inc., 770 F .2d 1015,       whether the district court legally erred by inval-
1027 (Fed.Cir.1985) (holding on summary              idating the asserted claims for obviousness. In
judgment that even though commercial suc-            KSR, the Supreme Court stated that, in situ-
cess could be deduced, it deserved no weight         ations where "the content of the prior art, the
because a nexus was not established), over-          scope of the patent claim, and the level of or-
ruled on other grounds by Midwest Indus., Inc.       dinary skill in the art are not in material dis-
v. Karavan Trailers, Inc., 175 F.3d 1356             pute, and the obviousness of the claim is ap-
(Fed.Cir.1999) (en banc). However, even as-          parent in light of these factors, summary judg-
suming the existence of a nexus, we see no er-       ment is appropriate." KSR Int'l Co. v. Teleflex
ror in the district court's determination that       Inc., 550 U.S. 398, 427 (2007). Such is the
Tokai failed to establish "that any of these sec-    case here.
ondary factors are significant," SJ Order, slip
op. at 37, in light of the strong showing of         *10 The district court correctly found no materi-
prima facie obviousness, as discussed infra.         al factual dispute as to each of the Graham
See Media Tech. Licensing, 596 F.3d at 1339          factors. By Tokai's own admission, the com-
("Even if [the patentee] could establish the re-     ponents required to assemble the claimed in-
quired nexus, a highly successful product            ventions are "simple mechanical parts that are
alone would not overcome the strong showing          well known in the art." Appellants' Opening Br.
of obviousness."); Ryko Mfg. Co., 950 F.2d at        at 54. While that in itself does not render the
719 (holding on summary judgment that the            claims obvious, KSR Int'l Co., 550 U.S. at 418,
claimed invention was obvious, despite "as-          it is also undisputed that a need for safer utility
sum[ing] that a nexus existed," because "sec-        lighters was recognized in the art as of the pri-
ondary considerations did not carry sufficient       ority date. E.g., '775 patent col.1 ll.20-25
weight to override a determination of obvious-       (noting that "a need exists for a lighting rod
ness based on primary considerations").              having enhanced safety characteristics" and
                                                     that, "[t]o satisfy such a need, lighting rods
We further agree with the district court that        provided with various safety devices have
Tokai's asserted evidence of copying, viz., Ea-      been proposed" in the prior art); Appellants'
ston's stipulation of infringement, is unpersuas-    Combined Reply & Response Br. at 16 ("The
ive. See Ecolochem, Inc. v. S. Cal. Edison Co.,      district court correctly noted that the [asserted
227 F.3d 1361, 1380 (Fed.Cir.2000) (noting           patents] identify a need for child-resistant util-
that "a showing of copying is only equivocal         ity lighters.... To be sure, the problem in the art
evidence of non-obviousness in the absence of        was how to make lighters more safe...."). Fur-
more compelling objective indicia of other sec-      thermore, the parties agree that cigarette light-
ondary considerations"). Copying "requires           ers and utility lighters are analogous arts. One
evidence of efforts to replicate a specific          of ordinary skill would thus be directed to the
product." Wyers v. Master Lock Co., 616 F.3d         claimed safety utility lighters by combining
1231, 1246 (Fed.Cir.2010). A stipulation of in-      available utility lighters with prior art automatic
fringement, taken alone, is not probative of         locking mechanisms on cigarette lighters. We
copying. See, e.g., Iron Grip Barbell Co., Inc.      have consistently stated that courts "may find a
v. USA Sports, Inc., 392 F.3d 1317, 1325             motivation to combine prior art references in
(Fed.Cir.2004).                                      the nature of the problem to be solved," and
                                                     that "[t]his form of motivation to combine evid-




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ence is particularly relevant with simpler mech-       ers and utility lighters are analogous arts and
anical technologies." Ruiz v. A.B. Chance Co.,         that a need for enhanced safety devices had
357 F.3d 1270, 1276 (Fed.Cir.2004); see also           been met in the field of cigarette lighters, as
Rothman v. Target Corp., 556 F.3d 1310, 1319           demonstrated by Floriot and Morris. It would
(Fed.Cir.2009); Pro-Mold & Tool Co. v. Great           have been obvious to one of ordinary skill and
Lakes Plastics, Inc., 75 F.3d 1568, 1573               creativity to adapt the safety mechanisms of
(Fed.Cir.1996).                                        the prior art cigarette lighters, as disclosed in
                                                       Floriot and/or Morris, to fit a utility lighter as
Accordingly, the undisputed facts in this case-        disclosed by Shike, even if it required some
-including the state of the prior art, the simpli-     variation in the selection or arrangement of
city and availability of the components making         particular components. KSR Int'l Co., 550 U.S.
up the claimed invention, and an explicit need         at 417 ("When a work is available in one field
in the prior art for safer utility lighters--compel    of endeavor, design incentives and other mar-
a conclusion of obviousness as to the subject          ket forces can prompt variations of it, either in
matter of each of the asserted claims. KSR Int'l       the same field or a different one.").
Co., 550 U.S. at 419-20 ("One of the ways in
which a patent's subject matter can be proved          *11 In light of the foregoing, we hold that the
obvious is by noting that there existed at the         asserted claims are invalid as obvious. Spe-
time of invention a known problem for which            cifically, with regard to claim 1 of the '775 pat-
there was an obvious solution encompassed              ent, the court did not err by holding on sum-
by the patent's claims."). A strong case of            mary judgment that the claimed subject matter
prima facie obviousness, such as that presen-          as a whole would have been obvious over
ted here, cannot be overcome by a far weaker           Shike and Floriot. Each of the components
showing of objective indicia of nonobvious-            making up the claimed subject matter existed
ness. See Media Tech. Licensing, 596 F.3d at           in the prior art, including the utility lighter, the
1339; Ryko Mfg. Co., 950 F.2d at 719.                  locking member, the urging member, the ability
                                                       to move the locking member in a direction op-
Although a need in the prior art for safer utility     posite the urging force, and the automatic re-
lighters is not disputed, Tokai contends that the      turn of the locking member to the locking posi-
solutions to this problem were "not at all pre-        tion following ignition. There was a recognized
dictable" and required "radical modification" of       need in the prior art for safer utility lighters that
the asserted prior art. We reject these argu-          would have provided one of ordinary skill with
ments. One of ordinary skill in the art would not      a definite reason for modifying the prior art util-
have viewed the subject matter of the asserted         ity lighters exemplified by Shike and Liang.
claims as unpredictable. As the Supreme Court          One of ordinary skill would thus have been mo-
recognized in KSR, the nature of the mechan-           tivated to adapt these utility lighters to incor-
ical arts is such that "identified, predictable        porate the automatic safety devices available
solutions" to known problems may be within             in the art, as exemplified by Floriot and Morris.
the technical grasp of a skilled artisan. 550
U.S. at 421; see also Rothman, 556 F.3d at             Similarly, the court did not err by holding that
1319 (stating that, in the predictable arts, a         the subject matter of claims 1, 10, and 13 of
claimed invention may be invalidated more              the '308 patent would have been obvious over
readily by showing "a motivation to combine            Shike, Floriot, and Morris. The '308 patent ad-
known elements to yield a predictable result").        dresses the same problem as the '775 patent.
Moreover, it is undisputed that cigarette light-       '308 patent col.1 ll.23-29. In addition to the




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elements of claim 1 of the '775 patent, an un-        to the subject matter of the asserted claims.
locking member is required by claim 1 of the '
308 patent. Morris indisputably discloses this                         CONCLUSION
element, and Morris, like Shike and Floriot, is       *12 For the foregoing reasons, the district court
analogous art available to the skilled artisan. It    did not abuse its discretion by excluding the
therefore would have been obvious for one of          expert reports and did not legally err by de-
ordinary skill to combine the required elements       termining that the asserted claims are invalid.
from the asserted prior art to arrive at the sub-
                                                                         AFFIRMED
ject matter of claim 1 of the ' 308 patent. The
                                                                          COSTS
required elements of claim 10 of the '308 pat-
                                                      Costs to Easton.
ent include a utility lighter, an example of
which is disclosed by Shike; a locking element,       NEWMAN, Circuit Judge, dissenting.
an example of which is disclosed by Floriot;
and an unlocking element, an example of               The invention patented by Tokai Corporation is
which is disclosed by Morris. The only missing        a utility rod lighter of the sort used to light
claim limitation-- the intended position of the       barbeques or fireplaces, having a novel safety
finger and thumb when using the lighter--is           mechanism that achieves a new level of child-
nothing more than a predictable variation on          safety over the prior art. The Tokai lighter dis-
the prior art. KSR Int'l Co., 550 U.S. at 417. In     placed previously available child-safety rod
both the claimed invention and in Morris, the         utility lighters, and received the ultimate accol-
lighter is operated via sequential action of the      ade of copying by the competition.
finger and thumb; a mere reversal in the order
of these actions does not confer patentability.       The Tokai lighter has an ingenious safety
Claim 13 of the '308 patent, which is depend-         design, whereby the device is simple to oper-
ent upon claim 10, adds the requirement of an         ate by adults but not by children, unlike prior
urging means, as Floriot discloses. We discern        art utility lighters, and locks automatically after
no error in the district court's conclusion that      use, unlike prior art utility lighters. The Tokai
claims 1, 10, and 13 of the '308 patent are in-       safety structure does not result from direct
valid as obvious.                                     combination of the prior art. Nonetheless the
                                                      district court, and now this court, hold on sum-
Finally, regarding the '017 patent, the district      mary judgment that the asserted claims of the
court did not err by holding the subject matter       Tokai patents are invalid for obviousness. I
of claims 1, 3, and 4 obvious over Shike and          must, respectfully, dissent.
Floriot. As with the '775 patent, each of the
elements was found in analogous prior art, in-                                   I
cluding, for claim 1, a utility lighter, a locking    The basic structure of a utility rod lighter is il-
means, and an urging means; for claim 3, the          lustrated in a patent to Shike, cited by the dis-
added limitation of repeatability of the lighting     trict court as prior art to Tokai's claimed lighter.
operation; and for claim 4, the added limitation
of a locking section that operates in the spe-
cified manner. One of ordinary skill would have
had the motivation and capability of adapting
and assembling these prior art components in-




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U.S. Patent 5,326,256 ("Shike"). Shike shows          The typical safety features in utility lighters op-
the typical extended rod for lighting the char-       erate in three steps: first, the user releases a
coal or other fuel, and a trigger (18) operated       locking mechanism; then the lighter is used,
mechanism that causes a piezoelectric unit            generally by a trigger-initiated ignition mechan-
(20) to discharge voltage that ignites combust-       ism; then the lighter is relocked. For example,
ible gas released from a gas reservoir (7).           the cited prior art patent to Liang shows a util-
Shike Patent, col 3. II. 5-15. Although Shike         ity lighter with a safety mechanism that is
does not have a safety mechanism, utility rod         manually controlled:
lighters are currently required to have safety
features to prevent accidental or uncontrolled
ignition, particularly by children.




U.S. Patent 5,199,865 ("Liang"). As the district      unlocked by the adult thumb while the trigger is
court explained, Liang teaches a utility rod          simultaneously operated by the adult index fin-
lighter with a control knob safety mechanism          ger; these steps must be concurrent, not se-
(3) that "must be manually set to a locking pos-      quential. After release the mechanism auto-
ition or operational position, and will not auto-     matically returns to the locked position. The
matically return to a locking position after use."    simplicity, the ease of operation, the child-
Tokai Corp. v. Easton Enters. Inc., No.               proof effectiveness, and the safety of this
5:07-cv-00883 (C.D.Cal. Oct. 27, 2009) ("SJ           design displaced the competition. The record
Order "), slip op. at 20.                             states that Tokai has sold more than 100 mil-
In contrast, Tokai's device provides two as-          lion of these utility lighters in the United States;
pects of childproof safety: first, the device is      Tokai's Vice President testified that large retail-
not operable by a child's hand, and second, it        ers such as Wal-Mart told him that they were
locks automatically after use. The Tokai device       purchasing Tokai's lighters because of the im-
requires an adult hand for concurrent two-fin-        proved child safety "as it relates to our mech-
ger operation, whereby the locking member is          anism versus the competition."




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*13 Tokai asserted Claim 1 of the 5,697,775           The Tokai '308 patent utility lighter safety fea-
(the "'775 patent"); Claims 1, 10 and 13 of the       ture is illustrated in the patent as follows:
5,897,308 (the "'308 patent"); and Claims 1, 3,
and 4 of the 6,093,017 (the "'017 patent"), all
inventions of Saito et al. On summary judg-
ment the district court held all of the asserted
claims invalid for obviousness. I cannot agree.




U.S. Patent 5,897,308 ("Saito"). As shown by            lighting rod is provided with a rod-like top
the arrow in Figure 8A, when the user's thumb           end portion and a main body, the rod-like top
depresses the lock-releasing button (125c) of           end portion being provided with a jetting
the locking member (125), the engagement                nozzle for jetting out a gas, the main body
section of the locking member (125b) moves              being provided with:
from the engagement groove (120f) into the              i) a gas tank,
operation member or trigger (120), and the              ii) a valve mechanism for opening and clos-
shaft (125a) slides along the vertical groove           ing a path, through which the gas is supplied
(120e) of the operation member, so that it be-          from the gas tank to the jetting nozzle,
comes possible for the trigger to be pulled sim-        iii) a piezoelectric unit for generating a dis-
ultaneously with depression of the lock-                charge voltage for lighting the gas, and
releasing button. Id. col.16 ll.18-31. After the        iv) an operation member, which is capable of
trigger is pulled and ignition is achieved, on re-      sliding, which has an operating section, and
lease of the device the spring (26) automatic-          which drives the valve mechanism and the
ally returns the locking member to the locked           piezoelectric unit in order to carry out a light-
position whereby the trigger cannot be pulled.          ing operation, the operating section of the
Id. col.16 ll.31-33. Claim 10 is directed to the        operating member being exposed to the ex-
device and its thumb and finger operation:              terior of the main body in a position to be
   10. A safety device in a lighting rod, which         capable of operational engagement by a fin-




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  ger of a hand holding the lighting rod,             Claim 13 adds the automatic locking limitation
  the safety device comprising:                       that the unlocking element is normally urged
  a) a locking element which is disposed inside       away from the lock release position by "urging
  the main body to be movable between a               means ." Id. col.34 ll.43-47.
  locking position where it prevents motion of
  the operation member in a direction to pro-         *14 The district court held all of the claims in-
  duce the lighting operation and a lock re-          valid for obviousness, based on the combina-
  lease position where it allows motion of the        tion of the Shike utility lighter, supra, which has
  operation member in a direction to permit the       no safety feature, with the safety features of a
  lighting operation, and                             cigarette lighter patent to Morris, and/or a ci-
  b) an unlocking element which is exposed to         garette lighter patent to Floriot. However,
  the exterior of the main body at a location         these features, if combined, do not produce the
  opposite from the operation member so as to         Saito device. The Morris cigarette lighter is as
  be engagable by the thumb of the hand hold-         follows:
  ing the lighting rod to move the locking ele-
  ment from the locking position to the unlock-
  ing position while a finger of that hand en-
  gages the operation section.
Id. col.33 l.44-col.34 l.28 (emphases added).




U.S. Patent 4,832,596 ("Morris"). The Morris          amination, the PTO recognizing the differences
safety feature consists of a stop member (9)          in mechanism and operation from the Saito
with an inturned wedge portion (12) which,            device.
when in the locked position, prevents actuation
of the lever (4a) which controls the opening of       The Floriot lighter also blocks the opening of a
the lighter's gas valve. The user grasps the          gas valve in a flint and wheel cigarette lighter,
lighter in such a manner that the index finger        illustrated as follows:
presses at (16), thereby sliding the wedge por-
tion (12) outwardly from underneath the lever
(4a), and releasing the gas valve, whereby the
gas is ignited by striking the flint wheel. Id. at
col.3 ll .5-15. This patent was cited during ex-




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U.S. Patent 5,090,893 ("Floriot"). The Floriot        The district court held that it would have been
lighter safety mechanism has a rocking lever          obvious to a person of ordinary skill, defined
(15), shown at the top of Figure 9, that controls     for summary judgment purposes as a person
the opening of a burner valve, and a blocking         with aptitude for high school shop class, to
lever (24, 24a), shown at the bottom of Figure        combine the various elements of the prior art to
6, that blocks the operation of the rocking           create the Saito device. However, the Saito
lever. In operating the Floriot lighter, first the    device is not a simple insertion of the Floriot or
blocking lever is moved to an unblocking posi-        Morris cigarette lighter safety mechanism into
tion by the thumb, in which position the block-       a utility lighter, as in the combination of known
ing lever is held by a projection. The thumb          structures exemplified in KSR International Co.
then operates the unblocked cigarette lighter         v. Teleflex, Inc., 550 U.S. 398 (2007). Where,
using the flint wheel. These are sequential ac-       as here, the features of one reference cannot
tions, and do not require two-finger coordina-        be substituted into the structure of a second
tion. The blocking lever returns to the locked        reference, this weighs against obviousness.
position automatically after operation of the ci-     See Orthopedic Equip. Co. v. United States,
garette lighter. Id. col.8 ll.13-30.                  702 F.2d 1005, 1013 (Fed.Cir.1983) ("The fact
                                                      that features of one reference cannot be sub-




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stituted into the structure of a second reference        obvious improvements serve the public in-
may indicate that the claims were nonobvious             terest, and are included in the purpose of the
in view of the combined teachings of the two             patent incentive.
references.").
                                                         The obviousness determination often presents
Both Morris and Shike were cited in the '775             a close question, as recognized by Judge
patent, and the specification of the '308 patent         Learned Hand: "Courts never tire, or at least in
recognizes that "the aforesaid safety mechan-            earlier times they never did, of expatiating
isms for gas lighters cannot be directly applied         upon the freshness of insight which observes a
to a lighting rod, which has a different struc-          little, but fruitful, change which had theretofore
ture." '308 Patent, col .1 l.52, col.2 ll.1-3. Flori-    escaped detection by those engaged in the
ot is cumulative to Morris, in offering a different      field." Harries v. Air King Products Co., 183
safety mechanism for a cigarette lighter.                F.2d 158, 162 (2d Cir.1950). Precedent guides
"When an attacker simply goes over the same              the decision-maker to take cognizance of the
ground travelled by the PTO, part of the bur-            response of the marketplace to the invention.
den is to show that the PTO was wrong in its             See Arkie Lures, Inc. v. Gene Larew Tackle,
decision to grant the patent." Am. Hoist & Der-          Inc., 119 F.3d 953, 957 (Fed.Cir.1997) ("The
rick Co. v. Sowa & Sons, Inc., 725 F.2d 1350,            so-called 'secondary considerations' provide
1360 (Fed.Cir.1984). Defendants have not met             evidence of how the patented device is viewed
this burden.                                             by the interested public: not the inventor, but
                                                         persons concerned with the product in the ob-
*15 The district court applied an incorrect              jective arena of the marketplace.... Such as-
standard. The determination of obviousness is            pects may be highly probative of the issue of
not whether a person could, with full know-              nonobviousness.") (citing Stratoflex, Inc. v.
ledge of the patented device, reproduce it from          Aeroquip Corp., 713 F.2d 1530, 1538-39
prior art or known principles. The question is           (Fed.Cir.1983)). The Court reiterated in KSR
whether it would have been obvious, without              that "[s]uch secondary considerations as com-
knowledge of the patentee's achievement, to              mercial success, long felt but unsolved needs,
produce the same thing that the patentee pro-            failure of others, etc., might be utilized to give
duced. This judgment must be made without                light to the circumstances surrounding the ori-
the benefit of hindsight. It is improper to take         gin of the subject matter sought to be paten-
concepts from other devices and change them              ted." 550 U.S. at 406 (quoting Graham v. John
in light of the now-known template of the pat-           Deere Co. of Kansas City, 383 U.S. 1, 17-18
ented device, without some direction in the pri-         (1966)); see also Ashland Oil, Inc. v. Delta
or art that would render it obvious to do so.            Resins & Refractories, Inc., 776 F.2d 281, 306
                                                         (Fed.Cir.1985) ("Secondary considerations
In a crowded and competitive field such as this
                                                         may be the most pertinent, probative, and re-
is stated to be, a modification that achieves a
                                                         vealing evidence available to the decision
valuable improvement is of significance in view
                                                         maker in reaching a conclusion on the obvious-
of the many entrants seeking commercial ad-
                                                         ness/nonobviousness issue.").
vantage. See In re Hummer, 241 F.2d 742, 744
(C.C.P.A.1957) ("applicant seeks a patent on             Although the district court recognized the com-
only a narrow improvement. Progress is as im-            mercial success of the Saito utility lighter, the
portant, however, in crowded arts as well as in          court declined to give it any weight, finding, on
those which are in the pioneer stage"). As the           summary judgment, that there was no "nexus"
Hummer court recognized, incremental but un-




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between the Saito invention and its commercial       considered as an integral part of the analysis").
success. SJ Order, slip op. at 38. The court
erred in law, for "a prima facie case of nexus is            FN1. Despite the district court's recog-
generally made out when the patentee shows                   nition that Tokai had demonstrated
both that there is commercial success, and that              copying, my colleagues find Tokai's
the thing (product or method) that is commer-                evidence of copying "unpersuasive,"
cially successful is the invention disclosed and             stating that copying "requires evidence
claimed in the patent." Demaco Corp. v. F.                   of efforts to replicate a specific
Von Langsdorff Licensing Ltd., 851 F.2d 1387,                product." Maj. Op. at 20. Defendants'
1392 (Fed.Cir.1988). The defendants did not                  internal documentation of its unsuc-
dispute Tokai's evidence that its commercial                 cessful attempts to design around the
success was due to its improved child-safety                 Saito invention is such evidence. J.A.
mechanism. It was improper for the district                  1451-1457. The court improperly re-
court to ignore the principle stated in Demaco               solves this factual aspect against Tokai
and then resolve this material factual aspect                on summary judgment. See Anderson
against Tokai on summary judgment. See Pro-                  v. Liberty Lobby, Inc., 477 U.S. 242,
Mold & Tool Co. v. Great Lakes Plastics, Inc.,               255 (1986) (on motion for summary
75 F.3d 1568, 1574 (Fed.Cir.1996) (vacating                  judgment "the evidence of the non-
summary judgment of invalidity for obvious-                  movant is to be believed, and all justifi-
ness, on the ground that a genuine issue of                  able inferences are to be drawn in his
material fact existed as to whether a commer-                favor").
cial success nexus was present).
                                                     Tokai's evidence of commercial success and
*16 The district court found that "copying is in-    copying of the patented device, taken with the
arguably present here," but stated that it gave      structural differences and the differences in op-
no weight to this finding, reasoning that copy-      eration between the prior cigarette lighter
ing is "only equivocal evidence of non-              safety mechanisms and the Saito utility lighter
obviousness." SJ Order, slip op. at 39-40.           safety mechanism, as well as the differences
[FN1] While it is the province of the district       between the auto-locking Saito mechanism
court to determine the weight to be given to         and manual locking prior utility lighters, created
evidence of commercial success and copying,          at least genuine issues of material fact bearing
such evidence cannot be completely ignored.          on obviousness. Summary judgment was im-
See Stratoflex, 713 F.2d at 1538 ("[E]vidence        properly assessed by the district court, and is
rising out of the so-called 'secondary consider-     now incorrectly affirmed by this court. See Mat-
ations' must always when present be con-             sushita Elec. Indus. Co. v. Zenith Radio Corp.,
sidered en route to a determination of obvious-      475 U.S. 574, 587 (1986) (on motion for sum-
ness. Indeed, evidence of secondary consider-        mary judgment the court must view the facts in
ations may often be the most probative and co-       the light most favorable to the non-moving
gent evidence in the record. It may often estab-     party and give it the benefit of all reasonable
lish that an invention appearing to have been        inferences to be drawn from those facts).
obvious in light of the prior art was not.")
                                                     My colleagues depart from the law governing
(citations omitted); W.L. Gore & Assocs., Inc.
                                                     determination of obviousness. The disputed
v. Garlock, Inc., 721 F.2d 1540, 1555
                                                     facts cannot be adversely found on summary
(Fed.Cir.1983) ( "objective evidence of nonob-
                                                     judgment. The question at least requires trial.
viousness ... should when present always be




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                         II                             The district court referred to the known need
Procedural error appears to have disadvant-             for an improved safety mechanism for utility
aged the patentee. The district court excluded          lighters, and stated that this need was a reas-
from consideration on the summary judgment              on to modify the prior art to make Tokai's im-
record the declaration of Mr. Kil Young Sung            proved lighter. To the contrary, the continuing
for failure to provide a written expert witness         need weighs against the obviousness of this
report. Federal Rule 26(a)(2)(B) provides that          successful device.
expert testimony must be accompanied by a
written report "if the witness is one retained or       Nor is it reasonable to trivialize an improve-
specially employed to provide expert testimony          ment by its relative simplicity. To the contrary,
in the case or one whose duties as the party's          the fact that this improvement eluded discov-
employee regularly involve giving expert testi-         ery, and that its advantages were immediately
mony." However, a party's employee who does             apparent to the marketplace and to the com-
not meet this Rule need not provide a written           petition, weigh in favor of nonobviousness. At a
expert report. Tokai states that Mr. Sung was           minimum, summary judgment of invalidity was
indeed an employee exempt from the Rule                 improperly granted. My colleagues err in sus-
26(a)(2)(B) report requirement, and that when           taining that judgment.
the issue was raised in connection with the
                                                        --- F.3d ----, 2011 WL 308370 (Fed.Cir.(Cal.))
summary judgment proceeding, Tokai was im-
properly barred from showing his employee               END OF DOCUMENT
status. I must agree that this procedure was
flawed.

*17 My colleagues state that the exclusion was
"harmless." Maj. Op. at 11. When reviewing an
erroneous evidentiary ruling, the Ninth Circuit,
whose procedural rules govern, begins with a
presumption of prejudice. Obrey v. Johnson,
400 F.3d 691, 701 (9th Cir.2005) ("when re-
viewing the effect of erroneous evidentiary rul-
ings, we will begin with a presumption of preju-
dice"). The Sung declaration describes the
specially configured elements of the Floriot ci-
garette lighter, explains their operation, and
explains how the Floriot safety mechanism is
incompatible with the prior art Shike utility light-
er. Mr. Sung, as a designer of both utility light-
ers and cigarette lighters, offered a reasoned
discussion of the prior art and its combination,
relevant to the issues before the district court.
The district court exceeded its discretion in
denying Tokai the opportunity to establish the
admissibility of this evidence under Rule 26(a).

                 CONCLUSION




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